Case 22-10630-JTD   Doc 45-2   Filed 08/26/22   Page 1 of 66




                      EXHIBIT B
            Case 22-10630-JTD        Doc 45-2 Filed 08/26/22   Page 2 of 66
                                          Pg 1 of 8


>bN[ C& @\_VYY\ "HJG A:< NB<>#
;NO_VRY :& F\YRQNQ
8N[VRY CbYRPV\%6\RX
DH=AA 9@5AH9? HEDH<5EG !
FH??=I5A ??C
)+(( = Fa_RRa$ AJ$ FbVaR 1((
JN`UV[Ta\[$ 8&7& *(((-
GRYR]U\[R2 "*(*# -+0%0(((
:NP`VZVYR2 "*(*# -+0%0)((
9ZNVY2 WbN[Z\_VYY\4^bV[[RZN[bRY&P\Z
9ZNVY2 TNO_VRY`\YRQNQ4^bV[[RZN[bRY&P\Z
9ZNVY2 QN[VRY]bYRPV\O\RX4^bV[[RZN[bRY&P\Z

9_VP JV[`a\[ "HJG A:< NB<>#                   FP\aa 7& FURYYRf
DH=AA 9@5AH9? HEDH<5EG !                      FNZN[aUN ;VYYR`]VR "HJG A:< NB<>#
FH??=I5A$ ??C                                 DH=AA 9@5AH9? HEDH<5EG !
0.- F\baU :VTbR_\N Fa_RRa$ )(aU :Y\\_         FH??=I5A ??C
?\` 5[TRYR`$ 7NYVS\_[VN 1(()/                 -) @NQV`\[ 5cR[bR$ **[Q :Y\\_
GRYR]U\[R2 "*)+# ,,+%+(((                     ARd K\_X$ ARd K\_X )(()(
:NP`VZVYR2 "*)+# ,,+%+)((                     GRYR]U\[R2 "*)*# 0,1%/(((
9ZNVY2 R_VPdV[`a\[4^bV[[RZN[bRY&P\Z           :NP`VZVYR2 "*)*# 0,1%/)((
                                              9ZNVY2 `P\aa`URYYRf4^bV[[RZN[bRY&P\Z
                                              9ZNVY2 `NZN[aUNTVYYR`]VR4^bV[[RZN[bRY&P\Z

,LLGJF>PK ?GJ LA> 0GJ>B@F 6>HJ>K>FL:LBN>

3-)2&% 12"2&1 #"-*03/2$5 $.302
1.32(&0- %)120)$2 .' -&4 5.0*


=[ _R2                                            7UN]aR_ )-

C9E:BE58BE5 BEB A9;EB$ F& 89 E&?&                 7N`R A\& )0%))(1, "F77#
89 7&I&$ >L :D&                                   ">\V[aYf 5QZV[V`aR_RQ#

8ROa\_` V[ N :\_RVT[ C_\PRRQV[T&
               Case 22-10630-JTD            Doc 45-2 Filed 08/26/22              Page 3 of 66
                                                 Pg 2 of 8


             13//+&,&-2"+ %&$+"0"2).- .' "+'.-1. +E/&6!,&+)(

        =$ 5YS\[`\ ?q]Rg%@RYVU$ ]b_`bN[a a\ *0 H&F&7& l )/,.$ UR_ROf QRPYN_R b[QR_ ]R[NYaf \S

]R_Wb_f aUNa aUR S\YY\dV[T V` a_bR N[Q P\__RPa a\ aUR OR`a \S Zf X[\dYRQTR N[Q ORYVRS2

        )&       = `bOZVa aUV` QRPYN_NaV\[ "iFb]]YRZR[aNY 8RPYN_NaV\[j# a\ `b]]YRZR[a aUR QRPYN_NaV\[

= ]_RcV\b`Yf ]_\cVQRQ \[ 5]_VY *($ *()0 "aUR i=[VaVNY 8RPYN_NaV\[j# V[ `b]]\_a \S ]RaVaV\[` N[Q

Z\aV\[` a\ aUR H&F& 6N[X_b]aPf 7\b_a S\_ aUR F\baUR_[ 8V`a_VPa \S ARd K\_X Of 5Y\[`\ QRY INY%

9PURcR__VN N` S\_RVT[ _R]_R`R[aNaVcR "i:\_RVT[ ER]_R`R[aNaVcRj# \S =[aRT_NQ\_N QR FR_cVPV\`

CRa_\YR_\` B_\ ART_\$ F&5&C&=& QR 7&I& "i=[aRT_NQ\_N B_\ ART_\j# N[Q CR_S\_NQ\_N B_\ ART_\$ F& QR

E&?& QR 7&I& "iCR_S\_NQ\_N B_\ ART_\j# "_R`]RPaVcRYf$ aUR i=[aRT_NQ\_N IR_VSVRQ CRaVaV\[j N[Q aUR

iCR_S\_NQ\_N IR_VSVRQ CRaVaV\[j$ N[Q a\TRaUR_$ aUR iIR_VSVRQ CRaVaV\[`j#&

        *&       GUV` Fb]]YRZR[aNY 8RPYN_NaV\[ NQQ_R``R` dURaUR_ aUR ]_RYVZV[N_f `aNTR \S N @ReVPN[

<GF<MJKG E>J<:FLBD ]_\PRRQV[T b[QR_ aUR @ReVPN[ 6b`V[R`` ER\_TN[VgNaV\[ 5Pa "V[ F]N[V`U$ 3>P =>

-GF<MJKGK 4>J<:FLBD>K$ aUR i?7@j# V` ]N_a \S aUR <GF<MJKG E>J<:FLBD ]_\PRRQV[T&)

        +&       H[QR_ @ReVPN[ YNd$ `aNabaR` N_R aUR ]_VZN_f `\b_PR \S YRTNY NbaU\_Vaf& 7N`R YNd V`

TR[R_NYYf [\a OV[QV[T N[Q V` b`bNYYf \[Yf N[ NVQ a\ V[aR_]_Ra N[Q N]]Yf `aNabaR`& 5` `bPU$ aUV`

Fb]]YRZR[aNY 8RPYN_NaV\[ S\Pb`R` \[ N[NYfgV[T aUR _RYRcN[a ]_\cV`V\[` \S aUR ?7@ N[Q PVaR` a\

`\ZR PN`R` a\ Sb_aUR_ VYYb`a_NaR aUR ZRN[V[T \S aUR ?7@& JUR_R _RYRcN[a$ aUV` 8RPYN_NaV\[ PVaR` aUR

R[aV_R N]]YVPNOYR ?7@ ]_\cV`V\[ N[Q ]_\cVQR` N[ 9[TYV`U a_N[`YNaV\[ \S `NZR&

                              /@8<;=;>7@B 1A7:8 ?9 7 !)($-*+) "%*$#(,&'

        ,&       5` = Re]YNV[RQ V[ Zf =[VaVNY 8RPYN_NaV\[$ b[QR_ aUR ?7@$ N <GF<MJKG E>J<:FLBD

]_\PRRQV[T V` P\Z]_V`RQ \S ad\ `aNTR`2 "N# aUR ]_RYVZV[N_f `aNTR$ dUVPU P\ZZR[PR` dVaU aUR _R^bR`a

\S N QROa\_$ Va` P_RQVa\_` \_ aUR @ReVPN[ 5aa\_[Rf ;R[R_NYh` BSSVPR "V[ F]N[V`U$ 4BFBKL>JBG 5M;DB<G#

)
    3>P => -GF<MJKGK 4>J<:FLBD>K L?7@M L6b`V[R`` ER\_TN[VgNaV\[ 5PaM$ 8VN_V\ BSVPVNY QR YN :RQR_NPVq[ L8BM$ +) QR
8VPVRZO_R QR )1.1 "@Re&#&



                                                      %*%
                Case 22-10630-JTD              Doc 45-2 Filed 08/26/22                Page 4 of 66
                                                    Pg 3 of 8


a\ V[VaVNaR N <GF<MJKG E>J<:FLBD ]_\PRRQV[T N[Q Qb_V[T dUVPU aUR P\b_a QRaR_ZV[R` dURaUR_ aUR

QROa\_ V` V[`\YcR[a3 N[Q "O# VS aUR P\b_a QRaR_ZV[R` aUNa aUR QROa\_ V` V[`\YcR[a$ aUR <GF<MJKG `aNTR$

dUVPU V` NY`\ P\Z]_V`RQ \S ad\ `aNTR`2*               "V# aUR P\[PVYVNaV\[ "V[ F]N[V`U$ <GF<BDB:<BWF#$ dUVPU

]_\cVQR` N[ \]]\_ab[Vaf S\_ aUR QROa\_ a\ _RNPU N[ NT_RRZR[a dVaU Va` P_RQVa\_` a\ _R]Nf QROa`3 N[Q

"VV# aUR YV^bVQNaV\[ "V[ F]N[V`U$ IMB>;J:#$ dUVPU V[c\YcR` aUR `NYR \S aUR QROa\_h` N``Ra` a\ _R]Nf

QROa`&+

          -&      GUR_R V` [\ Q\bOa aUNa aUR ]_RYVZV[N_f `aNTR V` ]N_a \S N @ReVPN[ <GF<MJKG E>J<:FLBD

]_\PRRQV[T S\_ ad\ ]_VZN_f _RN`\[`& :V_`a$ @ReVP\ QR`VT[RQ aUR ?7@ dVaU aUR ]b_]\`R \S V[PYbQV[T

aUR ]_RYVZV[N_f `aNTR N` ]N_a \S aUR <GF<MJKG& FRP\[Q$ [bZR_\b` ]_\cV`V\[` \S aUR ?7@ QRZ\[`a_NaR

aUNa \[PR N QROa\_$ Va` P_RQVa\_` \_ aUR @ReVPN[ T\cR_[ZR[a SVYR S\_ <GF<MJKG$ aUR QROa\_ V` `bOWRPa a\

aUR `b]R_cV`V\[ \S aUR @ReVPN[ P\b_a S\_ aUR ]b_]\`R \S `bPPR``SbYYf NPP\Z]YV`UV[T N _R\_TN[VgNaV\[&

9^bNYYf VZ]\_aN[a$ N QROa\_h` P_RQVa\_` QV_RPaYf ]N_aVPV]NaR V[ aUR ]_RYVZV[N_f `aNTR N[Q N` `bPU$ Va`

\baP\ZR QR]R[Q`$ V[ YN_TR ]N_a$ \[ aURZ& =[QRRQ$ aUR XRf QVSSR_R[PR ORadRR[ aUR ]_RYVZV[N_f `aNTR

N[Q aUR <GF<MJKG `aNTR V` [\a U\d ZbPU `b]R_cV`V\[ \_ P\[a_\Y aUR P\b_a PN[ ReR_a \cR_ aUR QROa\_ N`

aUNa _RZNV[` cV_abNYYf aUR `NZR aU_\bTU\ba aUR R[aV_R <GF<MJKG E>J<:FLBD ]_\PRRQV[T& GUR XRf

QVSSR_R[PR V` aUR ]b_]\`R \S RNPU `aNTR$ B">"$ V[ aUR ]_RYVZV[N_f `aNTR$ aUR QROa\_$ Va` P_RQVa\_` N[Q aUR

P\b_a S\Pb` \[ R[`b_V[T aUNa aUR QROa\_ V` V[`\YcR[a N[Q _R^bV_R` N _R\_TN[VgNaV\[ \S Va` QROa`$

dUR_RN` Qb_V[T aUR <GF<MJKG `aNTR NYY aUR`R P\[`aVabR[a` S\Pb` \[ _RNPUV[T N _R`a_bPab_V[T NT_RRZR[a

N[Q ]_RcR[aV[T YV^bVQNaV\[&


*
    7>> B=" 5_a& * "i/D <GF<MJKG E>J<:FLBD <GFKL: => =GK >L:H:K KM<>KBN:K! =>FGEBF:=:K <GF<BDB:<BWF P IMB>;J:&j# LGUR
<GF<MJKG E>J<:FLBD P\[`V`a` \S ad\ `bPPR``VcR `aNTR`$ PNYYRQ P\[PVYVNaV\[ N[Q YV^bVQNaV\[&jM&
+
     7>> B=" 5_a& + "i3: ?BF:DB=:= => D: <GF<BDB:<BWF >K DG@J:J D: <GFK>JN:<BWF => D: >EHJ>K: =>D -GE>J<B:FL> E>=B:FL> >D
<GFN>FBG IM> KMK<JB;: <GF KMK ,<J>>=GJ>K 6><GFG<B=GK" 3: ?BF:DB=:= => D: IMB>;J: >K D: N>FL: => D: >EHJ>K: =>D
-GE>J<B:FL>! => KMK MFB=:=>K HJG=M<LBN:K G => DGK ;B>F>K IM> D: BFL>@J:F H:J: >D H:@G : DGK ,<J>>=GJ>K 6><GFG<B=GK&j#
LiGUR ]b_]\`R \S aUR P\[PVYVNaV\[ V` a\ NPUVRcR aUR ]_R`R_cNaV\[ \S aUR @R_PUN[ah` P\Z]N[f aU_\bTU aUR NT_RRZR[a `VT[RQ
dVaU Va` ERP\T[VgRQ 7_RQVa\_`& GUR ]b_]\`R \S aUR YV^bVQNaV\[ V` aUR `NYR \S aUR @R_PUN[ah` P\Z]N[f$ \S Va` ]_\QbPaVcR
b[Va` \_ \S aUR T\\Q` aUNa P\Z]\`R Va S\_ ]NfZR[a a\ aUR ERP\T[VgRQ 7_RQVa\_`&jM&



                                                          %+%
                Case 22-10630-JTD                Doc 45-2 Filed 08/26/22                 Page 5 of 66
                                                      Pg 4 of 8


         .&        5` a\ aUR ]b_]\`R \S aUR ?7@$ aUR Re]\`VaV\[ \S Z\aVcR` ">OHGKB<BWF => EGLBNGK# S\_

Va` *((/ NZR[QZR[a "aUR Re]\`VaV\[ \S Z\aVcR` V` N Q\PbZR[a ]_R]N_RQ Of @ReVPN[ YRTV`YNa\_` ]_V\_

a\ N[NYfgV[T N[Q c\aV[T \[ [Rd YRTV`YNaV\[ `RaaV[T S\_aU aUR ]b_]\`R \S `bPU YRTV`YNaV\[# V`

]N_aVPbYN_Yf _RYRcN[a& F]RPVSVPNYYf$ Va `aNaR` aUNa aUR ?7@ iQVcVQR` aUR <GF<MJKG E>J<:FLBD V[a\ N

]_RYVZV[N_f `aNTR N[Q ad\ [NZRQ `aNTR`$ RNPU dVaU QVSSR_R[a \OWRPaVcR`$ Qb_NaV\[ N[Q QRPV`V\[`&

GUR`R N_R2 aUR ]_RYVZV[N_f L`aNTRM \S cR_VSVPNaV\[$ aUR L`aNTRM \S P\[PVYVNaV\[ N[Q aUR L`aNTRM \S

YV^bVQNaV\[&j GUR Re]\`VaV\[ \S Z\aVcR` a\ aUR *((/ ?7@ NZR[QZR[a V[ F]N[V`U$ dVaU N[ 9[TYV`U

a_N[`YNaV\[$ V` NaaNPURQ UR_R N` 9eUVOVa )&

         /&        5` a\ aUR ?7@h` ]_\cV`V\[`$ [bZR_\b` ]_\cV`V\[` QRZ\[`a_NaR aUNa \[PR N QROa\_$ Va`

P_RQVa\_` \_ aUR @ReVPN[ T\cR_[ZR[a SVYR S\_ <GF<MJKG$ aUR QROa\_ V` `bOWRPa a\ aUR `b]R_cV`V\[ \S aUR

@ReVPN[ P\b_a S\_ aUR ]b_]\`R \S `bPPR``SbYYf NPP\Z]YV`UV[T N _R\_TN[VgNaV\[$ dUVPU _RSYRPa` aUNa aUR

]_RYVZV[N_f `aNTR V` V[QRRQ ]N_a \S N @ReVPN[ <GF<MJKG E>J<:FLBD ]_\PRRQV[T& :\_ ReNZ]YR2

                   N& JUR[ N QROa\_ SVYR` S\_ <GF<MJKG$ Va Zb`a ]_\cVQR a\ aUR P\b_a$ BFL>J :DB:$ N YV`a \S

                       NYY Va` P_RQVa\_` N[Q QROa\_` N[Q N[ V[cR[a\_f \S NYY Va` N``Ra` N[Q N[f \aUR_ _VTUa`

                       Va U\YQ`$ N[Q aUb` N[f QRPV`V\[` Of aUR P\b_a Qb_V[T aUV` `aNTR [RPR``N_VYf V[c\YcR

                       NYY aUR QROa\_h` P_RQVa\_`3,


,
     7>> B=& 5_a& *( "i/D -GE>J<B:FL> IM> <GFKB=>J> IM> A: BF<MJJB=G >F >D BF<MEHDBEB>FLG @>F>J:DBQ:=G => KMK
G;DB@:<BGF>K >F LTJEBFGK => <M:DIMB>J: => DGK KMHM>KLGK >KL:;D><B=GK >F >D :JLU<MDG $# => >KL: 3>P! HG=JS KGDB<BL:J IM> K>
D> =><D:J> >F <GF<MJKG E>J<:FLBD! >D <M:D! >F <:KG => K>J ?MF=:=G! K> :;JBJS >F >L:H: => <GF<BDB:<BWF! K:DNG IM> >D
-GE>J<B:FL> >OHJ>K:E>FL> HB=: IM> >D <GF<MJKG E>J<:FLBD K> :;J: >F >L:H: => IMB>;J:" 3: KGDB<BLM= => =><D:J:<BWF =>
<GF<MJKG E>J<:FLBD =>D HJGHBG -GE>J<B:FL> =>;>JS K>J HJ>K>FL:=: >F DGK ?GJE:LGK IM> :D >?><LG =T : <GFG<>J >D
1FKLBLMLG! D: <M:D =>;>JS <GFL>F>J :D E>FGK >D FGE;J> <GEHD>LG! =>FGEBF:<BWF G J:QWF KG<B:D =>D -GE>J<B:FL>! >D
=GEB<BDBG IM> K>V:D> H:J: GUJ P J><B;BJ FGLB?B<:<BGF>K! :KU <GEG >F KM <:KG >D =GEB<BDBG KG<B:D! >D => KMK =BN>JK:K G?B<BF:K
P >KL:;D><BEB>FLGK! BF<DMP>F=G HD:FL:K! :DE:<>F>K G ;G=>@:K! >KH><B?B<:F=G >F <:KG F><>K:JBG >F =WF=> LB>F> D:
:=EBFBKLJ:<BWF HJBF<BH:D => KM >EHJ>K: G >F <:KG => K>J MF: H>JKGF: ?UKB<:! >D =GEB<BDBG =GF=> NBN> P :=>ESK! : >DD:
=>;>JSF :<GEH:V:JK> DGK :F>OGK KB@MB>FL>K* " " " 111" 8F: J>D:<BWF => KMK :<J>>=GJ>K P =>M=GJ>K IM> BF=BIM> KMK
FGE;J>K P =GEB<BDBGK! D: ?><A: => N>F<BEB>FLG =>D <JT=BLG G <JT=BLGK => <:=: MFG => >DDGK! >D @J:=G <GF IM> >KLBE: K> D>K
=>;> J><GFG<>J! BF=B<:F=G D:K <:J:<L>JUKLB<:K H:JLB<MD:J>K => =B<AGK <JT=BLGK! :KU <GEG => D:K @:J:FLU:K! J>:D>K G
H>JKGF:D>K! IM> A:P: GLGJ@:=G H:J: @:J:FLBQ:J =>M=:K HJGHB:K P => L>J<>JGK+ 19" 8F BFN>FL:JBG => LG=GK KMK ;B>F>K
BFEM>;D>K P EM>;D>K! LULMDGK N:DGJ>K! @TF>JGK => <GE>J<BG P =>J><AGK => <M:DIMB>J GLJ: >KH><B>&j# LiGUR @R_PUN[a aUNa
ORYVRcR` Va UN` P\ZZVaaRQ N TR[R_NY O_RNPU \S UV` \OYVTNaV\[` V[ aR_Z` \S N[f \S aUR PV_PbZ`aN[PR` R`aNOYV`URQ V[ N_aVPYR
)( \S aUV` ?Nd ZNf _R^bR`a a\ QRPYN_R <GF<MJKG E>J<:FLBD$ dUVPU$ VS Va V` S\b[QRQ$ Va LaUR PN`RM dVYY OR \]R[RQ V[ aUR


                                                            %,%
                 Case 22-10630-JTD                Doc 45-2 Filed 08/26/22                  Page 6 of 66
                                                       Pg 5 of 8


                   O& 8b_V[T aUR ]_RYVZV[N_f `aNTR$ Va V` P\ZZ\[ S\_ aUR P\b_a a\ V``bR V[Wb[PaV\[`$

                        dUVPU aUR P\b_a P_NSa` Na Va` QV`P_RaV\[$ R[W\V[V[T aUR QROa\_ S_\Z PR_aNV[ NPaV\[`

                        "S\_ ReNZ]YR$ ]NfV[T P_RQVa\_`# \_ R[W\V[V[T aUR QROa\_h` P_RQVa\_` \_ Pb`a\ZR_`

                        S_\Z PN[PRYYV[T aURV_ P\[a_NPa` dVaU aUR QROa\_ \_ S_\Z ReRPbaV[T \[ aUR QROa\_h`

                        N``Ra`&- GUR P\b_a V``bR` aUR`R V[Wb[PaV\[` V[ aUR V[aR_R`a \S NYY aUR P\[`aVabR[a` V[

                        N <GF<MJKG E>J<:FLBD ]_\PRRQV[T$ >"@"$ aUR QROa\_`$ aUR P_RQVa\_` N[Q aUR QROa\_`h

                        RZ]Y\fRR`3.




P\[PVYVNaV\[ `aNTR$ b[YR`` aUR @R_PUN[a Re]_R``Yf _R^bR`a` aUNa aUR ]_\PRRQV[T OR \]R[RQ V[ aUR YV^bVQNaV\[ `aNTR& GUR
_R^bR`a S\_ QRPYN_NaV\[ \S <GF<MJKG E>J<:FLBD Of aUR @R_PUN[a Va`RYS Zb`a OR ]_R`R[aRQ V[ aUR S\_Z` aUNa aUR =[`aVabaR
ZNXR` X[\d[$ dUVPU Zb`a P\[aNV[ Na YRN`a aUR SbYY [NZR$ QR[\ZV[NaV\[ \_ Ob`V[R`` [NZR \S aUR @R_PUN[a$ aUR NQQ_R``
V[QVPNaRQ S\_ URN_V[T N[Q _RPRVcV[T [\aVSVPNaV\[`$ N` dRYY N`$ dUR_R N]]_\]_VNaR$ aUR _RTV`aR_RQ \SSVPR$ \S Va` cN_V\b` \SSVPR`
N[Q R`aNOYV`UZR[a`$ V[PYbQV[T ]YN[a` \_ dN_RU\b`R`$ `]RPVSfV[T dUR_R [RPR``N_f dUR_R aUR ZNV[ NQZV[V`a_NaV\[ \S aUR
P\Z]N[f V` Y\PNaRQ$ \_ VS Va V` N[ V[QVcVQbNY$ aUR NQQ_R`` dUR_R UR YVcR`$ N[Q V[ NQQVaV\[$ a\ Va aUR S\YY\dV[T N[[ReR`
NPP\Z]N[f aUR _R^bR`a2 & & & ===& 5 YV`a \S Va` P_RQVa\_` N[Q QROa\_` aUNa V[QVPNaR` aURV_ [NZR` N[Q NQQ_R``R`$ aUR Re]V_NaV\[
QNaR \S aUR P_RQVa \S RNPU \[R \S aURZ$ aUR QRT_RR a\ dUVPU Va V` R`aVZNaRQ aURf `U\bYQ OR _RP\T[VgRQ$ V[QVPNaV[T aUR
]N_aVPbYN_ PUN_NPaR_V`aVP` \S `NVQ P_RQVa`$ N` dRYY N` aUR TbN_N[aRR`$ _RNY \_ ]R_`\[NY$ aUNa f\b UNcR T_N[aRQ a\ TbN_N[aRR
f\b_ \d[ QROa` N[Q aU\`R \S aUV_Q ]N_aVR`3 =I& 5[ V[cR[a\_f \S NYY Va` _RNY N[Q ]R_`\[NY ]_\]R_af$ `RPb_VaVR`$ ZR_PUN[QV`R
N[Q _VTUa` \S N[f \aUR_ XV[Q&jM&
-
     7>> B=& 5_a& *. "`RP\[Q ]N_NT_N]U# "i/D CM>Q! : KGDB<BLM= =>D -GE>J<B:FL>! G => G?B<BG! =B<L:JS D:K HJGNB=>F<B:K
HJ><:MLGJB:K IM> <GFKB=>J> F><>K:JB:K : ?BF => >NBL:J IM> K> HGF@: >F JB>K@G D: NB:;BDB=:= => D: >EHJ>K: <GF EGLBNG =>
D: =>E:F=: G => GLJ:K IM> K> HJ>K>FL>F =MJ:FL> D: NBKBL:! G IM> K> :@J:N> =B<AG JB>K@G! H:J: DG@J:J K:DN:@M:J=:J >D
BFL>JTK HX;DB<G HJ>NBKLG >F >D :JLU<MDG HJBE>JG => D: HJ>K>FL> 3>P&j# LiGUR WbQTR$ Na aUR _R^bR`a \S aUR @R_PUN[a$ \_ Re
\SSVPV\$ `UNYY V``bR aUR ]_RPNbaV\[N_f ZRN`b_R` aUNa UR'`UR QRRZ` [RPR``N_f V[ \_QR_ a\ Nc\VQ WR\]N_QVgV[T aUR cVNOVYVaf \S
aUR P\Z]N[f QbR a\ aUR <GF<MJKG SVYV[T \_ \S P\Z]YNV[a` aUNa P\ZR b] Qb_V[T aUR V[cR`aVTNaV\[$ \_ a\ Nc\VQ V[P_RN`V[T
`bPU _V`X$ V[ \_QR_ a\ `NSRTbN_Q aUR ]bOYVP V[aR_R`a P\[aRZ]YNaRQ Of aUR SV_`a N_aVPYR \S aUR ]_R`R[a ?Nd&jM3 K>> :DKG B=& 5_a&
+/ "`RP\[Q ]N_NT_N]U# "i/D CM>Q HG=JS =B<L:J D:K HJGNB=>F<B:K HJ><:MLGJB:K IM> >KLBE> F><>K:JB:K! >F <M:DIMB>J >L:H:
=>D HJG<>=BEB>FLG <GF<MJK:D! MF: N>Q IM> J><B;: D: KGDB<BLM=! G ;B>F => G?B<BG&j# LiGUR WbQTR ZNf V``bR aUR
]_RPNbaV\[N_f ZRN`b_R` UR QRRZ` [RPR``N_f$ Na N[f `aNTR \S aUR <GF<MJKG ]_\PRRQV[T`$ \[PR UR _RPRVcR` aUR _R^bR`a$ \_ Re
\SSVPV\&jM&
.
     7>> B=" 5_a& ) "i3: HJ>K>FL> 3>P >K => BFL>JTK HX;DB<G P LB>F> HGJ G;C>LG J>@MD:J >D <GF<MJKG E>J<:FLBD" /K => BFL>JTK
HX;DB<G <GFK>JN:J D:K >EHJ>K:K P >NBL:J IM> >D BF<MEHDBEB>FLG @>F>J:DBQ:=G => D:K G;DB@:<BGF>K => H:@G HGF@: >F
JB>K@G D: NB:;BDB=:= => D:K EBKE:K P => D:K =>ESK <GF D:K IM> E:FL>F@: MF: J>D:<BWF => F>@G<BGK" -GF >D ?BF =>
@:J:FLBQ:J MF: :=><M:=: HJGL><<BWF : DGK :<J>>=GJ>K ?J>FL> :D =>LJBE>FLG =>D H:LJBEGFBG => D:K >EHJ>K:K >F <GF<MJKG!
>D CM>Q P DGK =>ESK KMC>LGK =>D HJG<>KG J>@MD:=G >F >KL: 3>P =>;>JSF J>@BJ KMK :<LM:<BGF>K! >F LG=G EGE>FLG! ;:CG DGK
HJBF<BHBGK => LJ:K<>F=>F<B:! ><GFGEU: HJG<>K:D! <>D>JB=:=! HM;DB<B=:= P ;M>F: ?>&j# LiGUV` ?Nd V` V[ aUR ]bOYVP V[aR_R`a
N[Q Va` ]b_]\`R V` a\ _RTbYNaR PGF<MJKG E>J<:FLBD ]_\PRRQV[T`& =a V` V[ aUR ]bOYVP V[aR_R`a a\ ]_R`R_cR P\Z]N[VR` N[Q
]_RcR[a TR[R_NYVgRQ O_RNPU \S ]NfZR[a \OYVTNaV\[` S_\Z WR\]N_QVgV[T aUR P\Z]N[fh` cVNOVYVaf N[Q aUNa \S \aUR_` dVaU
dUVPU aURf UNcR N Ob`V[R`` _RYNaV\[`UV]& =[ \_QR_ a\ TbN_N[aRR NQR^bNaR ]_\aRPaV\[ S\_ P_RQVa\_` NTNV[`a N QRP_RN`R \S aUR
N``Ra` \S aUR P\Z]N[VR` V[ <GF<MJKG$ aUR WbQTR N[Q aUR \aUR_` `bOWRPa a\ aUR _RTbYNaRQ ]_\PR`` ]R_ aUV` ?Nd Zb`a T\cR_[
aURV_ NPaV\[`$ Na NYY aVZR`$ b[QR_ aUR ]_V[PV]YR` \S VZ]\_aN[PR$ ]_\PRQb_NY RP\[\ZVP`$ `]RRQ$ [\aVPR N[Q T\\Q SNVaU&jM&



                                                             %-%
                 Case 22-10630-JTD               Doc 45-2 Filed 08/26/22                  Page 7 of 66
                                                      Pg 6 of 8


                   P& GUR NBKBL:=GJ$ dU\ V` _R`]\[`VOYR S\_ ReNZV[V[T aUR QROa\_h` SV[N[PR` V[ aUR

                        ]_RYVZV[N_f `aNTR N[Q ]_\cVQV[T N _R]\_a a\ aUR P\b_a \[ dURaUR_ aUR QROa\_ V`

                        V[`\YcR[a$ ZNf NY`\ _R^bR`a V[Wb[PaV\[`3/

                   Q& 5[f V[Wb[PaV\[` V``bRQ Of aUR P\b_a Qb_V[T aUR ]_RYVZV[N_f `aNTR dVYY YN`a S\_ N`

                        Y\[T N` aUR P\b_a `\ QRaR_ZV[R`30

                   R& 5[f ]N_af NSSRPaRQ V[ N[f dNf Of N[ V[Wb[PaV\[ ZNf PUNYYR[TR Va$ V[PYbQV[T cVN N[

                        :EH:JG$ dUVPU V` N P\[`aVabaV\[NY PUNYYR[TR NTNV[`a N P\b_a \_QR_ \[ aUR T_\b[Q`

                        aUNa aUR \_QR_ cV\YNaR` _VTUa` `Ra S\_aU V[ aUR @ReVPN[ 7\[`aVabaV\[31 N[Q

                   S& 5 QROa\_ `RRXV[T a\ \OaNV[ SV[N[PV[T S\_ Ob`V[R`` Re]R[`R` N[Q \aUR_ P\`a` Qb_V[T

                        N[f `aNTR \S aUR <GF<MJKG "dUNa V` X[\d[ V[aR_[NaV\[NYYf N` iQROa\_%V[%

                        ]\``R``V\[ SV[N[PV[Tj#$ V[PYbQV[T Qb_V[T aUR ]_RYVZV[N_f `aNTR$ Zb`a `RRX YRNcR

                        S_\Z aUR P\b_a ]_V\_ a\ \OaNV[V[T `bPU SV[N[PV[T&)(


/
     7>> B=& 5_a& +("=# "i/F KM <:KG! KM@B>J: :D CM>Q D:K HJGNB=>F<B:K HJ><:MLGJB:K IM> >KLBE> F><>K:JB:K H:J: D:
HJGL><<BWF => D: 4:K:! >F DGK LTJEBFGK =>D :JLU<MDG &) => D: EBKE:&j# Li=[ UV` PN`R$ LaUR NBKBL:=GJ ZNfM `bTTR`a a\ aUR
WbQTR aUR ]_RPNbaV\[N_f ZRN`b_R` UR QRRZ` [RPR``N_f S\_ aUR ]_\aRPaV\[ \S aUR 9`aNaR$ V[ aUR aR_Z` \S N_aVPYR +/ \S aUR
`NZR LYNdM&jM3 K>> :DKG B=& 5_a& +) "SV_`a ]N_NT_N]U# "i,=>ESK => D:K HJGNB=>F<B:K HJ><:MLGJB:K : IM> A:<> J>?>J>F<B: >D
:JLU<MDG %(! >D NBKBL:=GJ HG=JS KGDB<BL:J :D CM>Q >F >D LJ:FK<MJKG => D: NBKBL: D: :=GH<BWF! EG=B?B<:<BWF G D>N:FL:EB>FLG =>
D:K HJGNB=>F<B:K HJ><:MLGJB:K : D:K IM> K> J>?B>J> >KL> :JLU<MDG! <GF >D G;C>LG => HJGL>@>J D: 4:K: P DGK =>J><AGK => DGK
:<J>>=GJ>K! =>;B>F=G ?MF=:E>FL:J >F LG=GK DGK <:KGK D:K J:QGF>K => KM KGDB<BLM=&j# Li=[ NQQVaV\[ a\ aUR ]_RPNbaV\[N_f
ZRN`b_R` _RSR__RQ a\ V[ N_aVPYR *-$ aUR NBKBL:=GJ ZNf _R^bR`a \S aUR WbQTR Qb_V[T aUR ReNZV[NaV\[ ]R_V\Q$ aUR NQ\]aV\[$
Z\QVSVPNaV\[ \_ YVSaV[T \S aUR ]_RPNbaV\[N_f ZRN`b_R` _RSR__RQ a\ V[ aUV` N_aVPYR$ V[ \_QR_ a\ ]_\aRPa aUR ZN`` N[Q aUR _VTUa`
\S aUR P_RQVa\_`$ V[ RNPU PN`R UNcV[T a\ Wb`aVSf aUR _RN`\[` S\_ UV` _R^bR`a&jM&
0
     7>> B=& 5_a& +0 "i3:K HJGNB=>F<B:K HJ><:MLGJB:K KM;KBKLBJSF A:KL: IM> >D CM>Q GJ=>F> KM D>N:FL:EB>FLG" /D
-GE>J<B:FL> HG=JS >NBL:J D: :HDB<:<BWF => D:K HJGNB=>F<B:K HJ><:MLGJB:K G ;B>F KGDB<BL:J IM> K> D>N:FL>F D:K IM> K>
AM;B>J>F =B<L:=G! HJ>NB: @:J:FLU: <GFKLBLMB=: : K:LBK?:<<BWF =>D CM>Q&j# LiGUR ]_RPNbaV\[N_f ZRN`b_R` dVYY `b_cVcR b[aVY
aUR WbQTR \_QR_` aURV_ YVSaV[T& GUR @R_PUN[a ZNf Nc\VQ aUR N]]YVPNaV\[ \S ]_RPNbaV\[N_f \_QR_`$ \_ `RRX aUNa aU\`R aUNa
UNcR ORR[ \_QR_RQ OR YVSaRQ$ UNcV[T ]_\cVQRQ N TbN_N[af aUNa `NaV`SVR` aUR WbQTR&jM&
1
     7>> Fb]_RZN 7\_aR QR >b`aVPVN QR YN ANPVq[ LFb]_RZR 7\b_a \S >b`aVPR \S aUR ANaV\[M$ FRZV[N_V\ >bQVPVNY QR YN
:RQR_NPVq[ f `b ;NPRaN$ 8pPVZN n]\PN$ ?VO_\ *,$ G\Z\ ==$ A\cVRZO_R QR *()-$ CoTV[N ).1* "@Re&# "V[aR_]_RaV[T N_aVPYR
+/ \S aUR ?7@$ dUVPU _RSR_` a\ aUR ]_RYVZV[N_f `aNTR$ U\YQV[T aUNa N[f ]N_af NSSRPaRQ Of N[ V[Wb[PaV\[ UN` aUR `NZR _VTUa`
N` N[f \aUR_ ]N_af V[ aUR <GF<MJKG$ V[PYbQV[T _VTUa` a\ SVYR _RP\[`VQR_NaV\[ Z\aV\[` N[Q :EH:JGK#&
)(
     7>> ?7@ 5_a& +/ "`RP\[Q N[Q aUV_Q ]N_NT_N]U`# "i.>K=> D: KGDB<BLM= => <GF<MJKG E>J<:FLBD G ;B>F! MF: N>Q :=EBLB=:
: LJSEBL>! >D -GE>J<B:FL> HG=JS KGDB<BL:J :D CM>Q KM :MLGJBQ:<BWF H:J: D: <GFLJ:L:<BWF BFE>=B:L: => <JT=BLGK
BF=BKH>FK:;D>K H:J: E:FL>F>J D: GH>J:<BWF GJ=BF:JB: => D: >EHJ>K: P D: DBIMB=>Q F><>K:JB: =MJ:FL> D: LJ:EBL:<BWF =>D
<GF<MJKG E>J<:FLBD" 5:J: D: LJ:EBL:<BWF => DGK J>?>JB=GK <JT=BLGK! >D CM>Q HG=JS :MLGJBQ:J D: <GFKLBLM<BWF => @:J:FLU:K
IM> J>KMDL:J>F HJG<>=>FL>K! KB :KU ?M>J: KGDB<BL:=G HGJ >D -GE>J<B:FL>" 5J>K>FL:=: D: H>LB<BWF =>D -GE>J<B:FL> P =:=:


                                                             %.%
                 Case 22-10630-JTD                Doc 45-2 Filed 08/26/22                  Page 8 of 66
                                                       Pg 7 of 8


         0&        9^bNYYf VZ]\_aN[a$ aUR P_RQVa\_` \S N QROa\_ ]YNf N XRf _\YR V[ aUR ]_RYVZV[N_f `aNTR

N[Q aUR \baP\ZR \S aUR ]_RYVZV[N_f `aNTR QR]R[Q`$ V[ YN_TR ]N_a$ \[ aURZ& GUV` NY`\ _RSYRPa` aUNa aUR

]_RYVZV[N_f `aNTR V` V[QRRQ ]N_a \S N @ReVPN[ <GF<MJKG E>J<:FLBD ]_\PRRQV[T& :\_ ReNZ]YR2

                   N& 5` N `aN_aV[T ZNaaR_$ aUR R[aV_R <GF<MJKG E>J<:FLBD ]_\PRRQV[T V` ]bOYVP$ N[Q N`

                        `bPU$ N[f ]N_af ZNf NPPR`` Va` SVYV[T` N[Q \_QR_`3))

                   O& 5 P_RQVa\_ \S N QROa\_ ZNf NY`\ V[VaVNaR N <GF<MJKG E>J<:FLBD ]_\PRRQV[T S\_ aUR

                        QROa\_ N[Q `RRX V[Wb[PaV\[` Qb_V[T aUR ]_RYVZV[N_f `aNTR3)*

                   P& 5 QROa\_ ZNf \[Yf dVaUQ_Nd Va` _R^bR`a a\ V[VaVNaR N <GF<MJKG E>J<:FLBD

                        ]_\PRRQV[T dVaU aUR P\[`R[a \S Va` P_RQVa\_`3)+ N[Q



D: MJ@>F<B: P F><>KB=:= =>D ?BF:F<B:EB>FLG! >D CM>Q! HJ>NB: GHBFBWF =>D NBKBL:=GJ! J>KGDN>JS J>KH><LG D: :MLGJBQ:<BWF =>D
?BF:F<B:EB>FLG <GF >D G;C>LBNG :FL>K :DM=B=G! HJG<>=B>F=G : =B<L:J DGK DBF>:EB>FLGK >F DGK IM> IM>=:JS :MLGJBQ:=G >D
<JT=BLG J>KH><LBNG P KM H:@G GJ=BF:JBG =MJ:FL> >D <GF<MJKG E>J<:FLBD! LGE:F=G >F <GFKB=>J:<BWF KM HJ>D:<BWF HJ>?>J>FL>
>F DGK LTJEBFGK =>D :JLU<MDG %%' => D: 3>P&j# Li:_\Z aUR _R^bR`a S\_ <GF<MJKG E>J<:FLBD$ \_ _NaUR_ \[PR aUR SVYV[T V`
NQZVaaRQ$ aUR @R_PUN[a PN[ _R^bR`a aUR WbQTRh` NbaU\_VgNaV\[ S\_ aUR VZZRQVNaR P\[a_NPaV[T \S P_RQVa [RPR``N_f a\
ZNV[aNV[ aUR \_QV[N_f \]R_NaV\[ \S aUR Ob`V[R`` N[Q aUR YV^bVQVaf [RPR``N_f Qb_V[T aUR ]_\PR`` \S aUR <GF<MJKG E>J<:FLBD&
:\_ aUR a_N[`NPaV\[ \S `NVQ P_RQVa$ aUR WbQTR PN[ NbaU\_VgR aUR P_RNaV\[ \S TbN_N[aVR` aUNa N_R [RPR``N_f$ VS aUV` V` _R^bR`aRQ
Of aUR @R_PUN[a& LJVaUM aUR ]RaVaV\[ ]_R`R[aRQ Of aUR @R_PUN[a$ N[Q TVcR[ aUR b_TR[Pf N[Q [RPR``Vaf \S L\OaNV[V[TM
SV[N[PV[T$ aUR WbQTR$ ORS\_R aUR \]V[V\[ \S aUR NBKBL:=GJ LV` P\Z]YRaRM$ dVaU _R`\YcR aUR V``bR \S NbaU\_VgNaV\[ \S aUR
SV[N[PV[T S\_ aUR ]b_]\`R NO\cR QR`P_VORQ$ ]_\PRRQV[T a\ QVPaNaR aUR TbVQRYV[R` dVaUV[ dUVPU aUR _R`]RPaVcR P_RQVa V`
NbaU\_VgRQ$ N[Q Va` _RTbYN_ ]NfZR[a Qb_V[T aUR <GF<MJKG E>J<:FLBD$ aNXV[T V[a\ P\[`VQR_NaV\[ Va` ]_RSR__RQ L]NfZR[aM
]_V\_Vaf V[ aR_Z` \S N_aVPYR **/ \S aUR ?Nd L?7@M&jM&
))
     7>> B=" 5_a& / "`RP\[Q ]N_NT_N]U# "/D HJG<>=BEB>FLG => <GF<MJKG E>J<:FLBD >K HX;DB<G! HGJ DG IM> <M:DIMB>J H>JKGF:
HM>=> KGDB<BL:J :<<>KG : D: BF?GJE:<BWF KG;J> >D EBKEG! : LJ:NTK => DGK E><:FBKEGK => :<<>KG : D: BF?GJE:<BWF <GF IM>
<M>FL> >D 5G=>J 2M=B<B:D => D: 0>=>J:<BWF&j# LiGUR ON[X_b]aPf ]_\PRRQV[T V` ]bOYVP$ `\ N[f\[R PN[ _R^bR`a NPPR`` a\
V[S\_ZNaV\[ NO\ba Va$ aU_\bTU aUR ZRPUN[V`Z` \S NPPR`` a\ V[S\_ZNaV\[ N``b_RQ Of aUR >bQVPVNY 6_N[PU \S aUR
:RQR_NaV\[&jM&
)*
    7>> B=& 5_a& *) "i5G=JSF =>E:F=:J D: =><D:J:<BWF => <GF<MJKG E>J<:FLBD <M:DIMB>J :<J>>=GJ =>D -GE>J<B:FL> G >D
4BFBKL>JBG 5X;DB<G&j# Li5[f P_RQVa\_ \S aUR @R_PUN[a \_ aUR 5aa\_[Rf ;R[R_NY ZNf QRZN[Q aUR QRPYN_NaV\[ \S <GF<MJKG
E>J<:FLBD&jM3 K>> :DKG B=& 5_a& *-& "i/D :<J>>=GJ IM> =>E:F=> D: =><D:J:<BWF => <GF<MJKG E>J<:FLBD => MF -GE>J<B:FL>!
HG=JS KGDB<BL:J :D CM>Q D: :=GH<BWF => HJGNB=>F<B:K HJ><:MLGJB:K G! >F KM <:KG! D: EG=B?B<:<BWF => D:K IM> K> AM;B>J>F
:=GHL:=G" 3: <GFKLBLM<BWF! EG=B?B<:<BWF G D>N:FL:EB>FLG => =B<A:K HJGNB=>F<B:K K> J>@BJSF HGJ DG =BKHM>KLG :D >?><LG >F
>D -W=B@G => -GE>J<BG&j# LiGUR P_RQVa\_ dU\ QRZN[Q` aUR QRPYN_NaV\[ \S <GF<MJKG E>J<:FLBD \S N @R_PUN[a$ ZNf
_R^bR`a \S aUR WbQTR aUR NQ\]aV\[ \S ]_RPNbaV\[N_f ZRN`b_R` \_$ N` aUR PN`R ZNf OR$ aUR Z\QVSVPNaV\[ \S aU\`R aUNa UNcR
ORR[ NQ\]aRQ& GUR P\[`aVabaV\[$ Z\QVSVPNaV\[ \_ YVSaV[T \S `NVQ \_QR_` dVYY OR T\cR_[RQ Of aUR ]_\cV`V\[` \S aUR
7\ZZR_PVNY 7\QR&jM&
)+
     7>> B=& 5_a& *0& "i/D -GE>J<B:FL> IM> A:P: KGDB<BL:=G KM =><D:J:<BWF => <GF<MJKG E>J<:FLBD G! >F KM <:KG! DGK
:<J>>=GJ>K G >D 4BFBKL>JBG 5X;DB<G IM> DG A:P:F =>E:F=:=G! HG=JSF =>KBKLBJ => KM KGDB<BLM= G =>E:F=:! KB>EHJ> IM>
>OBKL: >D <GFK>FLBEB>FLG >OHJ>KG => LG=GK >DDGK" /D -GE>J<B:FL> G DGK :<J>>=GJ>K =>E:F=:FL>K KM?J:@:JSF DGK @:KLGK =>D
HJG<>KG! >FLJ> GLJGK! DGK AGFGJ:JBGK =>D NBKBL:=GJ P! >F KM <:KG! =>D <GF<BDB:=GJ&j# LiGUR @R_PUN[a dU\ UN` _R^bR`aRQ Va`
QRPYN_NaV\[ \S <GF<MJKG E>J<:FLBD \_$ dUR[ N]]YVPNOYR$ aUR P_RQVa\_` \_ aUR 5aa\_[Rf ;R[R_NY aUNa UNcR QRZN[QRQ Va$ ZNf


                                                             %/%
Case 22-10630-JTD   Doc 45-2 Filed 08/26/22   Page 9 of 66
                         Pg 8 of 8
Case 22-10630-JTD   Doc 45-2   Filed 08/26/22   Page 10 of 66




     Exhibit 1
         Case 22-10630-JTD               Doc 45-2      Filed 08/26/22       Page 11 of 66




                             LEY DE CONCURSOS MERCANTILES
                                   " EXPOSICION DE MOTIVOS "




Fecha de publicación: 5/12/00
Disposición legal: LEY
Periódico oficial: 8-I
Entidad: SECRETARIA DE GOBERNACION
CAMARA DE ORIGEN: SENADORES EXPOSICION DE MOTIVOS México D.F. a 23 de
noviembre       de    1999.    INICIATIVA      PRESENTADA        POR    SENADORES:          (GRUPOS
PARLAMENTARIOS PRD, PRI e INDEPENDIENTE) CC. SECRETARIOS DE LA CÁMARA DE
SENADORES PRESENTE



Los que suscriben Senadores de la República de la LVII Legislatura del H Congreso de
la Unión, integrantes de los Grupos Parlamentarios del Partido de la Revolución
Democrática, del Partido Revolucionario Institucional, y el senador independiente
Adolfo Aguilar Zinser, con fundamento en lo dispuesto por la fracción II del artículo 71
de la Constitución Política de los Estados Unidos Mexicanos así como por la fracción II
del articulo 55 del Reglamento para el Gobierno Interior del Congreso General,
sometemos a consideración de esta H. Asamblea, la siguiente Iniciativa de Ley de
Concursos Mercantiles, con arreglo a la siguiente:



EXPOSICION DE MOTIVOS

Importancia de la legislación concursal.



Las condiciones sociales y económicas que prevalecían en México en la década de los
años cuarenta se han transformado radicalmente. Nuestra población se ha multiplicado
en cinco veces el producto interno bruto ha crecido en más de quince veces la
participación    de    los    sectores    industrial   y   de   servicios    se   ha   incrementado
significativamente y la del sector primario se ha reducido. El crecimiento demográfico y
la marcha del campo hacia la ciudad han sido de gran magnitud Los avances en las
telecomunicaciones y los medios de transporte se han dado a pasos agigantados, en
ese entonces inimaginables.



La forma de hacer negocios también es distinta. Anteriormente la mayoría de las
empresas comerciales eran unipersonales o familiares y relativamente fáciles de
            Case 22-10630-JTD              Doc 45-2       Filed 08/26/22       Page 12 of 66




administrar. Hoy en día las relaciones comerciales son más complejas y sujetas a un
mayor número de factores, algunos de carácter internacional que afectan la vida
económica de las naciones individualmente consideradas - aunque de distinta forma y
grado -, y otros que son propios de las realidades nacionales; que inciden sobre la
marcha de la empresa. Los ciclos de los productos se han hecho más cortos, y las
empresas     están        expuestas    a     cambios     más   frecuentes.     y    en    ocasiones   más
pronunciados, en las condiciones de los mercados financieros. Todo ello obliga a las
empresas a transformarse más rápidamente.



La economía, de ser típicamente regional fue integrándose hacia una economía
nacional,    hasta    entrar     en    una    etapa     de   inserción   en    la   economía      mundial.
Paralelamente, los mercados de dinero y bursátil, que hace medio siglo eran
prácticamente inexistentes. han adquirido una gran preponderancia como medio de
financiamiento del desarrollo. Nuestro país se ha integrado a la economía mundial en
respuesta a los beneficios que ofrece el proceso de globalización, no sólo en lo que se
refiere al intercambio de bienes y servicios con el exterior, sino que también se ha
integrado a los crecientes flujos financieros y de inversión.



Las   cadenas      productivas        se   integran     vertical   y   horizontalmente,        nacional   e
internacionalmente, tecnológica y sectorialmente. La mayor competitividad obliga a
unas empresas a responder ágilmente a los nuevos nichos de mercado y a abandonar
aquéllos donde se dejan de tener ventajas competitivas. A medida que la sociedad se
moderniza, aumenta el número de empresas, y de la misma manera los factores que
hacer variar su competitividad, rentabilidad y permanencia en el mercado.



Existe, sin embargo, un serio problema cuando se dan condiciones que llevan a un
empresario, de manera rápida e irremediable, a enfrentar problemas económicos y
financieros: incluso cuando ello sea motivado por un error de cálculo o previsión
cometido     por     un    empresario        honesto,    competente      y    próspero.    La    empresa,
considerada     como       la   organización     de     trabajo,   bienes    materiales    e    intangibles
destinados a producir u ofrecer profesionalmente bienes y servicios al mercado, con
fines lucrativos, puede tener éxito o bien encontrarse en serias dificultades que
amenacen su supervivencia. La quiebra de una empresa no trata de un incumplimiento
singular y concreto de una obligación, sino de un incumplimiento general, que afecta a
todos las que tienen relación con la empresa e igualmente afecta la supervivencia
económica de los trabajadores que laboran, en ella, de manera que su quiebra
repercute en todo su entorno social.



Además cuando una empresa se ve imposibilitada a cumplir de manera generalizada
en sus obligaciones liquidas frente a una pluralidad de acreedores, se corre el riesgo de
         Case 22-10630-JTD        Doc 45-2     Filed 08/26/22      Page 13 of 66




que se dé una situación en que el cobro a través de la acción individual por parte de
sus acreedores resulte en un detrimento del valor total de la empresa. En este caso la
acción individual también puede afectar la prelación que existía entre los acreedores,
resultando en inequidades. Este es el momento en que el derecho concursal debe
dirigir su normatividad para tratar de evitar que la empresa fracase, que se desperdicie
el esfuerzo creativo ya realizado por el empresario, y que no se lastime al
conglomerado social que, en alguna medida, se beneficia con el propio funcionamiento
de la empresa. La posible quiebra es, entonces. un fenómeno económico, y el
propósito de la legislación concursal es precisamente atender los males sociales
derivados de ese singular fenómeno.



En lo que hace al marco jurídico que regula las relaciones comerciales entre
particulares, debe tenerse en cuenta que en el pasado los tribunales mexicanos y sus
leyes procesales se crearon para resolver problemas de sociedades establecidas en
ciudades más pequeñas, en las cuales todos los actores se conocían y encontraban
todos los días en los lugares públicos y de trabajo. En tales condiciones sociales era
factible suponer en el juez conocimientos básicos y la inmediatez con la empresa,
necesarios para resolver muchos de los problemas que produce la falta de liquidez.
Además de que los casos de cesación de pagos eran menos en una sociedad que
mostraba menor grado de desarrollo. Hoy en día, la vida en las ciudades no permite a
los jueces conocer personalmente a las partes involucradas, el número de negocios
que se les someten es aplastante, el tamaño y la complejidad de las empresas
comerciales   requiere   que   sean   manejadas    por   equipos    de   especialistas   en
administración, contabilidad y en los diversos campos de la actividad comercial,
industrial o de servicios de que se trate.



Por todo lo anterior, el marco jurídico no puede permanecer al margen del avance de
la sociedad. Para impulsar un crecimiento económico sano y sostenido, que ofrezca
oportunidades de desarrollo a toda la población. una condición necesaria es la de
contar con un marco jurídico apropiado que ofrezca certidumbre y confianza en la
solución, de conflictos entre particulares, facilite la reasignación eficiente de los
recursos productivos en la economía y contribuya a que la salida de empresas de los
mercados afecte lo menos posible su entorno social y económico. El marco jurídico que
regula la actividad económica en este sentido ha venido modernizándose durante los
últimos años. No sólo se han establecido acuerdos comerciales con los principales
países del mundo, también se expidió la Ley Federal de Competencia. y se han
realizado avances importantes en la forma de resolver conflictos entre los particulares,
destacando entre ellos la Ley de Arbitrajes.
         Case 22-10630-JTD       Doc 45-2    Filed 08/26/22    Page 14 of 66




La legislación concursal también desempeña un papel estratégico. Su propósito es el
de ordenar los procesos de reestructuración de empresas, buscando en primer término
aprovechar la experiencia y conocimientos del empresario falimentario y, por otra
parte, procurar que los acreedores, ya sea comerciales o financieros, también puedan
continuar operando. Cuando una instancia no puede concluir exitosamente, el Estado
puede desempeñar una función central coordinando los esfuerzos, proveyendo un foro
donde la información fluya y que las empresas viables puedan aprovechar para
reestructurarse, seguir operando y mantener el empleo. Por otra parte cuando es el
caso que las empresas han dejado de ser viables, el Estado desempeña un papel
fundamental en la reasignación de factores productivos, de modo que los trabajadores
puedan encontrar nuevas fuentes de empleo productivo y bien remunerado en tanto
que los bienes sean aprovechados por otras empresas más productivas. En este
proceso, los acreedores y los comerciantes obtienen el mayor valor de la empresa o de
los bienes que la integran y con oportunidad pueden retomar otros negocios y
actividades que contribuyan al bienestar general de la sociedad.



Así, la situación de una empresa que enfrenta problemas económicos o financieros que
amenacen su supervivencia se constituye en un objeto de interés público, el cual
requiere una participación congruente con la realidad económica, apoyándose en las
instituciones para la impartición de justicia y, por otra parte, en la experiencia y
conocimientos que agentes independientes puedan aportar a este tipo de procesos. En
buena medida a ello responde la preocupación, no sólo de México sino de países con
más alto grado de desarrollo económico, como Alemania, España, Francia, Inglaterra y
Holanda, y de países con similar estructura económica. como Argentina, Brasil, Chile,
Indonesia, Perú y Colombia, para revisar, actualizar y modernizar el marco jurídico de
la quiebra de una empresa.



Ley de Quiebras y de Suspensión de Pagos



La legislación concursal vigente data de 1942, cuando fue expedida la Ley de Quiebras
y de Suspensión de Pagos. Nuestra regulación en materia concursal ha evolucionado
en respuesta a las diversas realidades políticas, económicas y sociales. El primer
ordenamiento en esta materia fue la ley de Bancarrota de 1853 influenciada por el
Código de Comercio Francés de 1808 y el español de 1829 que regulaban la cesación
de pagos de un comerciante por falta de liquidez. El siguiente antecedente, con el que
la materia concursal adquirió carácter federal, fue el Código de Comercio de 1854,
pero éste tuvo una vigencia efímera a debido a las Ordenanzas de Bilbao que se
pusieron en vigor después del triunfo de la Revolución de Ayutla. Posteriormente el
régimen concursal se modifico con las reformas al Código de Comercio en 1884 y
1890. No fue sin embargo sino hasta el inicio de la década de los cuarenta que se
           Case 22-10630-JTD        Doc 45-2    Filed 08/26/22       Page 15 of 66




consideró apropiado contar con una ley especial en la materia principalmente en
respuesta a la necesidad de reconocer el avance de la materia mercantil. La ley
vigente fue elaborada con indudable tecnicismo por uno de los mercantilistas más
destacados de la época, Don Joaquín Rodríguez y Rodríguez, quien además recibió la
influencia de la mejor doctrina española en la materia.



El ordenamiento en vigor reconoció que la quiebra es un fenómeno económico en que
el Estado tiene un interés fundamental, que no solamente debe preocupar a los
acreedores y que la empresa representa un valor objetivo de organización económico y
social por lo que la conservación de la empresa es norma directiva fundamental de la
legislación en esta materia. También reconoció que debe procurarse la simplificación
del procedimiento, sin pérdida de la garantía de seguridad jurídica y que debe
protegerse la integridad del procedimiento entre las personas que manejan la quiebra.
Los autores de esta Iniciativa rinden homenaje a quienes intervinieron en la
elaboración de la Ley de Quiebras y de Suspensión de Pagos que entró en vigor el 20
de abril de 1943. pues diseñaron un mecanismo acorde a las condiciones económicas y
sociales de la época. Sin embargo conforme fueron transformándose las instituciones
nacionales y las condiciones comerciales. Este ordenamiento fue presentando diversos
problemas que fueron disminuyendo la eficacia en su aplicación. Ya en 1968. los
renombrados mercantilistas Roberto Mantilla Molina y Jorge Barrera Graf dirigieron un
anteproyecto para una nueva Ley de Quiebras. Esta propuesta se orientó a atender los
problemas derivados de la figura de suspensión de pagos, resolver la dilación en los
procedimientos, problemas en la integración y funcionamiento de los órganos de la
quiebra y a revisar las disposiciones de índole penal. Este proyecto sustituía a la
suspensión de pagos por una moratoria judicial acotada a sesenta días, proponía un
registro   de   profesionales   autorizados   para   fungir   como   síndicos,   depuraba   y
simplificaba trámites procesales, reemplazaba a los órganos concúrsales de la
intervención y la junta de acreedores por un Comisario, y agilizaba el reconocimiento
de créditos suprimiendo la necesidad de abrir debate contradictorio para cada uno de
dichos créditos. Posteriormente el 13 de enero de 1987 se realizó una reforma al
ordenamiento actualmente en vigor con el fin de atender los problemas relativos al
órgano de la sindicatura. Concretamente se propuso en la exposición de motivos
correspondiente la asignación de la sindicatura en procedimientos concursales de
comerciantes privados a las cámaras de comercio o de industria; y tratándose de
entidades paraestatales, empresas del sector social y otras empresas. La asignación de
a sindicatura a la sociedad nacional de crédito que designara la Secretaria de Hacienda
y Crédito Público.



En 1987 Salvador Rocha Díaz, prepara un a propuestas de la Ley de Apoyo
Rehabilitación y Quiebra de las Empresas en el cual se proponía una instancia
extrajudicial de apoyo a los comerciantes en crisis, se eliminaba la figura de la junta de
         Case 22-10630-JTD        Doc 45-2    Filed 08/26/22    Page 16 of 66




acreedores se fortalecían las facultades de la intervención. También se proponía la
sustitución de la suspensión de pagos por una moratoria legal con plazo fatal de un
año, la cual sólo podía ser ampliada por unanimidad de los acreedores concurrentes o
en caso contrario se declaraba en quiebra al comerciante. Se suprimía el debate
contradictorio para agilizar el reconocimiento de créditos y se dejaba a la intervención
la tarea de establecer el monto, graduación y prelación que correspondía a cada
crédito. Otra innovación era la simplificación de los requisitos para la aprobación del
convenio y se dejaba al síndico la tarea de proponer un plan de rehabilitación que
permitiera al fallido la reestructuración de sus pasivos. el cual de ser aprobado por el
juez seria oponible a todos los acreedores.



Más recientemente, en 1994 la fracción parlamentaria del PAN sometió a la
consideración de la H Cámara de Diputados un proyecto de Ley de Rehabilitación y
Quiebras de Empresarios Mercantiles, cuya autoría principalmente se debió al C. Dip.
Daniel de la Garza Gutiérrez. En esta iniciativa se pueden apreciar destacadas
contribuciones tendientes a afianzar la seguridad jurídica de las partes mediante la
simplificación de trámites judiciales, especialmente para propiciar un reconocimiento
de créditos más expedito y menos contencioso. Se redefinían las funciones de los
órganos de la quiebra y se establecían requisitos para propiciar la profesionalización de
la sindicatura. Se sustituía la suspensión de pagos por una instancia de conciliación y
otra de cesación de pagos y se limitaba la intervención del juzgador a aspectos
estrictamente jurisdiccionales.



La Iniciativa, la Comisión Redactora y las fuentes.



La Iniciativa de Ley de Concursos Mercantiles que hoy se somete a la consideración de
la H. Cámara de Senadores, se preparó gracias al esfuerzo de legisladores del PRD, PRI
e independientes que, con la colaboración de servidores del Poder Ejecutivo Federal,
en su conjunto integraron la Comisión redactora.



A efecto de elaborar una Iniciativa para una nueva Ley de Quiebras, se consideró
indispensable tomar como puntos de referencia, por una parte. el ordenamiento en
vigor la iniciativa que ahora se presenta conserva un núcleo fundamental de los
principios de ese cuerpo legal, adoptando, aumentando y modificando lo necesario
para formular uno más acorde con la sociedad y las practicas contemporáneas.



La Comisión consideró que existían razones de fondo para proponer la elaboración de
una nueva ley en vez de proponer reformas a la vigente, en lo que se encontraban
acordes muchos de los maestros de derecho mercantil que se han dedicado
         Case 22-10630-JTD       Doc 45-2     Filed 08/26/22   Page 17 of 66




específicamente a esta materia y que inclusive han elaborado anteproyectos al
respecto. Ello sin que dejaran de conservarse en el anteproyecto las mejores
disposiciones de la ley vigente, aun cuando con una sistemática diversa. Las
diferencias entre la ley vigente y la iniciativa reconocen la evolución de las prácticas
comerciales, el desarrollo de nuevas instituciones mercantiles y los profundos cambios
en la composición de la sociedad mexicana desde 1943 a la fecha.



Los   borradores   sucesivos    fueron   analizados   y   comentados     por   diversas
representaciones empresariales y laborales. Juristas reconocidos, agrupaciones de
abogados, jueces y practicantes quienes realizaron contribuciones sobre aspectos
procesales, constitucionales, laborales, mercantiles y penales del anteproyecto. Se
organizaron foros públicos para la presentación de algunos borradores en el Distrito
Federal, Monterrey y Guadalajara con el fin de recoger las inquietudes de abogados,
empresarios, académicos y colegios de profesionistas. Así, la Iniciativa que hoy se
presenta recoge las atinadas recomendaciones de este numeroso grupo de ciudadanos.



La Iniciativa, como ya se señaló, también se benefició de la inspiración y la ayuda que
suministra el derecho comparado; especialmente en las tendencias más modernas que
se pueden apreciar en las reformas recientes a la legislación concursal de un
sinnúmero de países. Finalmente, la enorme experiencia adquirida en la aplicación del
ordenamiento en vigor permitió conocer la naturaleza de las relaciones mercantiles
entre particulares que se suscitan en la práctica mexicana y que la iniciativa está
llamada a regir.



Criterios e ideas generales.



El primer tema que ocupó a los autores de la Iniciativa fue el identificar los objetivos
centrales del derecho concursal, a efecto de que sus disposiciones guardaran plena
congruencia con ellos y constituyeran medios idóneos para obtenerlos. El objetivo
central fue fácilmente identificado, Proporcionar la normatividad pertinente para
maximizar el valor de una empresa en crisis mediante su conservación, con lo cual se
protege el empleo de sus elementos Humanos se evita la repercusión económica
negativa a la sociedad, producida por la perdida de una empresa que le proporciona
bienes o servicios, y se recupera el esfuerzo empresarial que dicha empresa representó
para su titular. En caso de que fuese imposible conservar la empresa en manos de sus
dueños. Iniciativa debía contener las normas que permitieran preservar el valor
económico de la empresa o de los bienes y derechos que la integran mediante un
procedimiento de liquidación ordenada que maximizara el producto de la enajenación y
diera trato equitativo al comerciante y sus acreedores.
            Case 22-10630-JTD       Doc 45-2     Filed 08/26/22     Page 18 of 66




Para que la legislación concursal resulte eficaz es necesario que se caracterice por ser
predecible equitativa y transparente. La predecibilidad se consigue estableciendo
reglas claras y precisas que permitan su aplicación de manera consistente y por lo
tanto, ofrezcan certeza y desincentiven los litigios. La equidad, por su parte no se
alcanza dando un trato igual a los distintos acreedores, sino reconociendo las
diferencias y, sobre todo, evitando el fraude y el favoritismo. Por, último la
transparencia obliga a proveer de información suficiente a los diferentes participantes
para   que    todos   puedan   ejercer   sus   derechos,   y   obliga   también   a   que   los
procedimientos judiciales sean abiertos y que las decisiones se fundamenten y se
hagan del conocimiento del público.



Las características anteriores permiten establecer los incentivos apropiados para que
acreedores y deudores potenciales puedan tomar las mejores decisiones y éstas
contribuyan a elevar la eficiencia del sistema productivo. Además, una vez que la
empresa ha incurrido en incumplimiento generalizado de sus obligaciones, la ley debe
contribuir a que las partes puedan alcanzar acuerdos privados con la menor
participación del Estado o si ello no es posible, se ejecuten expedita y ordenadamente
los derechos, en las mejores condiciones posibles.



Concretamente, los criterios más importantes que orientaron el desarrollo de la
Iniciativa fueron los siguientes:



a) Maximizar el valor social de la empresa;

b) Conservar el equilibrio entre deudor y acreedores, para que ambos sean plenamente
respetados;

c) Inducir el flujo de información relevante que permita a los interesados participar
constructivamente;

d) Respetar en lo posible las relaciones contractuales preexístentes;

e) Adecuar los incentivos para facilitar un arreglo voluntario entre los deudores y
acreedores;

f) Propiciar las soluciones extrajudiciales;

g) Apoyar a los jueces en aspectos técnicos y administrativos del procedimiento, para
que puedan enfocar sus esfuerzos a las tareas jurisdiccionales y

h) Simplificar los tramites judiciales y procedimientos administrativos para hacerlos
más transparentes y expeditos, reduciendo oportunidades e incentivos para litigios
frívolos.
         Case 22-10630-JTD        Doc 45-2     Filed 08/26/22   Page 19 of 66




Descripción de la Iniciativa de Ley de Concursos Mercantiles.



A continuación se presenta una descripción de los principales elementos de la Ley de
Concursos Mercantiles que se somete a la consideración del H. Congreso de la Unión.



La Iniciativa regula los concursos de las personas que, de acuerdo con nuestras leyes,
tienen el carácter de comerciantes. Se aclara que puede ser sometido a concurso el
patrimonio fideicomitido, cuando se afecte a actividades empresariales. Se conservan
las disposiciones relativas al concurso de los socios ilimitadamente responsables, la
sucesión del comerciante y las sucursales de empresas extranjeras y se perfeccionan
las referentes a las sociedades irregulares.



Se incorporan igualmente disposiciones legales relativas al concurso mercantil de
sociedades controladoras y controladas, que no se encontraban en la Ley vigente.



Por otra parte, después de un análisis cuidadoso de las disposiciones aplicables a las
aseguradoras y afianzadoras, se suprime la normatividad relativa al concurso de estas
instituciones, y se deja que sus procedimientos concursales sigan siendo regulados por
sus leyes especiales y otras disposiciones aplicables actualmente en vigor.



Asimismo, se adecuan en función del procedimiento concursal planteado en la
Iniciativa, los capítulos especiales para el caso de los concesionarios públicos, las
instituciones de crédito y las organizaciones auxiliares del crédito. En estos casos, era
indispensable reconocer la naturaleza particular de estas empresas y el interés público
que representan. La Iniciativa armoniza el concurso de estas instituciones con las
disposiciones especiales que las rigen, y establece la debida participación de las
entidades que las autorizan, regulan y supervisan.



Tal y como se establecía desde la exposición de motivos de la Ley de Quiebras y de
Suspensión de Pagos, la Comisión reconoció que el concurso mercantil es un fenómeno
económico que no sólo interesa a los particulares que en él intervienen sino que se
trata de una manifestación económico jurídica en la que el Estado tiene un interés
preponderante y fundamental por lo que en consecuencia propuso, en congruencia con
lo que establece la fracción l del artículo 104 constitucional que fuera competencia de
los tribunales federales conocer del concurso mercantil de los comerciantes.
          Case 22-10630-JTD       Doc 45-2      Filed 08/26/22       Page 20 of 66




Una preocupación de la Comisión redactora de la Iniciativa fue la de reorganizar las
funciones del juez, del síndico y de la intervención de tal manera que éstas se puedan
desarrollar en forma más independiente, disponiendo cada uno de los órganos de
plazos determinados para el desempeño de sus funciones, con el objeto de dar mayor
transparencia a los procedimientos concursales y evitar que se prolonguen demasiado
tiempo.



Se buscó, primeramente, redefinir la función del juez dentro de los procedimientos
concursales. La Comisión llegó a la conclusión de que los más importantes problemas
que se presentan en una empresa en estado de falta de liquidez, son de naturaleza
comercial y administrativa y pueden solucionarse por expertos en esas materias
comerciales. Sólo un número limitado de cuestiones, relativas a las relaciones del
comerciante con terceros y a la protección de sus derechos, requiere necesariamente
la intervención de la autoridad judicial y el cumplimiento de las formalidades esenciales
del procedimiento.



La Iniciativa mantiene a juez como órgano central y rector de la quiebra, pero
reconoce que la especialización en las ramas del derecho privado y de procedimientos
que tienen los jueces y los abogados litigantes no los prepara en nuestros días para
resolver sobre materias en las que no están necesariamente instruidos. Para resolver
adecuadamente sobre problemas financieros, del tiempo, de personal competente y de
los medios materiales, que resultan indispensables para superar la obvia crisis que
confronta una empresa que se ha visto imposibilitada para hacer frente a sus
obligaciones de manera generalizada, es necesario contar con la participación de
especialistas que asistan a la autoridad judicial en sus resoluciones.



Se percibieron entonces, como graves, los inconvenientes de seguir el sistema
tradicional de dejar al juez la responsabilidad de todas las decisiones, no solamente las
jurisdiccionales   que   corresponde   a   su   función   natural,     sino   las   decisiones
administrativas, industriales, comerciales, económicas y financieras que resultan
necesarias para la rehabilitación o, en su caso, liquidación de la empresa fallida. Es
inútil insistir en que, ni en México ni en ningún otro país, el juez dispone de los apoyos
indispensables para atender todos los problemas de naturaleza no jurisdiccional que se
presentan en los procedimientos concursales. Por ello, la tendencia moderna ha sido la
de reservar al juez solamente los problemas jurídicos que en los procedimientos
jurídicos que en los procedimientos concursales se presenten. Y a otros órganos de la
quiebra la responsabilidad administrativa: el juez debe intervenir en las controversias
jurisdiccionales, en relación con una cuestión administrativa o financiera pero no
pueden tener la responsabilidad de tomar decisiones en tales materias.
         Case 22-10630-JTD        Doc 45-2     Filed 08/26/22    Page 21 of 66




Las razones arriba apuntadas llevaron a la Comisión que redactó la lniciativa a elaborar
un a cuidadosa distinción entre aquellas cuestiones que por afectar los derechos del
comerciante y de otras partes interesadas, o suponer un litigio entre ellas, son de
naturaleza judicial y aquellas otras de carácter comercial, contable, financiero o
administrativo y que deben ser resueltas por especialistas en esos ramos. La Iniciativa
que se propone hace una consecuente distinción entre las tareas y atribuciones
judiciales y las que son propiamente comerciales. Cuando fue necesario, como en el
caso de la declaración de concurso y la visita de inspección, la resolución compete al
juez, pero el peso fundamental, del análisis contable, financiero o administrativo que
ilustra al juez para que éste pueda mejor proveer, corresponde al especialista.



Los órganos de la quiebra no se han integrado o no han funcionado en la forma
prevista en la ley. Se consideró con especial atención, por juzgarlo el más delicado, el
de la sindicatura. La Comisión redactora pensó que encomendarlo a las cámaras de
comercio o de industria o a las instituciones de crédito es una medida excelente en
teoría, pero que, hasta ahora, ha fracasado en la práctica. Se considera, en abstracto,
que ésta era una la solución óptima, pues si la quiebra interesa a la generalidad del
comercio, nada mejor que encomendar la sindicatura a la institución que tiene la
función de representar sus intereses generales, es decir, a las mencionadas cámaras;
pero la organización y estructura de la mayoría de ellas no permite, en la actualidad,
que atiendan adecuadamente las complejas funciones de una sindicatura. Sólo en
contados casos han aceptado la sindicatura las cámaras y las instituciones de crédito
han aceptado la sindicatura y, por esa falta de interés, han tendido a delegar esta
importante responsabilidad en terceras personas, que son quienes en realidad han
desempeñado las sindicaturas. Actualmente, se carece de un sistema que asegure una
sindicatura profesional, competente y con la colaboración humana y económica
adecuadas para resolver la crisis de la empresa fallida.



Según las fases del procedimiento concursal, la Iniciativa atribuye facultades a tres
clases de especialistas: los visitadores, conciliadores y síndicos. Las atribuciones de los
especialistas son importantes y delicadas. Los especialistas deben tener solvencia
moral, conocimientos y experiencia en el ramo de la actividad que corresponde a sus
atribuciones. Los profesionistas cuya preparación les permite atender estas funciones
forman un grupo en donde fácilmente pueden reclutarse estos especialistas, tales son
los licenciados en derecho, los licenciados en administración de empresas. los
licenciados en economía, los contadores y los especialistas en ingeniería financiera.
Tales profesionistas son los más indicados, en la actual situación de nuestra sociedad,
para que acepten y desempeñen las funciones que típicamente se han reservado a las
sindicaturas, más aquéllas que les atribuye la Iniciativa
          Case 22-10630-JTD       Doc 45-2     Filed 08/26/22     Page 22 of 66




Para asegurar que se contara con las personas que tienen los requisitos necesarios
para llevar a cabo su tarea con competencia y honestidad, así como la transparencia
en su designación la Iniciativa propone la creación del Instituto Federal de Especialistas
de Concursos Mercantiles, como un órgano dependiente del Consejo de la Judicatura
Federal y cuya función principal será la de autorizar a las personas que acreditan cubrir
los requisitos necesarios, para prestar servicios de visitadores, conciliadores o síndicos.
También, entre otras funciones, tendrá la de la solicitud del juez del concurso, designar
por sorteo de entre las personas acreditadas, a quienes prestarán las funciones de
visitadores, conciliadores y síndicos. De esta manera se prevé contar con un medio
transparente de selección de los especialistas que actuarán en los procedimientos
concursales. Se atribuye así a dicho Instituto la concentración de las listas de síndicos,
y de los legajos de cada una de las personas que en ellas figuren, para centralizar los
datos de toda la República, y facilitar la depuración de las listas, así como la publicidad
de ellas y de algunos de los actos que conciernan a las funciones que la Iniciativa les
encomienda.



Con esta reforma se procura aliviar la tarea del juez en los procedimientos concursales
sin privarlo de su función primordial, y permitir que la labor de los especialistas
produzca resultados inmediatos y reales en la solución de los problemas de una
empresa en crisis.



Al diseñar la estructura interna del Instituto se buscó, en todo momento, procurar que
cuente con la mayor autonomía técnica y operativa posible. Asimismo, se buscó
mantenerla al margen de su intervención directa en los procedimientos concursales y
que los miembros de su Junta Directiva fueran personas de reconocido prestigio en las
materias relevantes (administrativa, contable, financiera, económica y jurídica) para la
acreditación, designación y supervisión de los especialistas en el proceso concursal.
Finalmente, para propiciar su memoria institucional, se decidió que su Junta fuera
integrada por cinco miembros que serian designados de manera escalonada.



La Iniciativa hace un énfasis particular en asegurar que todas y cada una de las partes
en   un   procedimiento   concursal   tengan   información   suficiente   para   tomar   sus
decisiones. Con este propósito, se establece como requisito el uso, en diversas
instancias del procedimiento de formatos preestablecidos de libre reproducción que
permitan asegurar que todos los datos relevantes se presentan de manera clara y
ordenada. Esta práctica que ha dado buenos resultados en otros países propicia la
estandarización y eficiencia de los procedimientos. La responsabilidad de emitir y
actualizar estos formatos corresponderá al Instituto.
         Case 22-10630-JTD        Doc 45-2      Filed 08/26/22   Page 23 of 66




Algunos aspectos específicos del procedimiento concursal requieren de una regulación
más detallada y sobre todo flexible de las que es conveniente incluir en una ley. Tal es
el caso, por ejemplo del régimen de honorarios de los especialistas o de los medios
idóneos para dar publicidad a las subastas en el concurso. Por un lado es imposible
prever en el acto legislativo todos los posibles casos que la práctica va revelando, y
que requieren un tratamiento especial. Por otro lado, en la medida en que los
mercados    y   las   prácticas   comerciales    evolucionan,    es   necesario   adaptar
correspondientemente algunas disposiciones.



Se atribuye al Instituto la obligación de emitir y actualizar las reglas, siempre que sean
de aplicación general. El esfuerzo continuo de profesionales dedicados de tiempo
completo al perfeccionamiento de aspectos netamente técnicos y operativos del
procedimiento concursal contribuirá a mantener la eficacia y vigencia del conjunto de
preceptos que componen la Iniciativa.



Los ordenamientos jurídicos que regulan al singular fenómeno de la quiebra han tenido
una lenta transformación, y es hasta en los últimos años cuando los nuevos fenómenos
económicos han motivado un importante esfuerzo de estudio y reflexión, los cuales
deben conducir a un marco jurídico que contribuya eficazmente a la solución de los
múltiples problemas que presenta.



Los redactores del ordenamiento en vigor, reconocieron las ventajas de establecer
como criterio detonador de la declaración de quiebra de un comerciante al de
incumplimiento generalizado de pagos. Esta decisión legislativa se sustentó en la
reflexión de que dicho incumplimiento de pagos es un fenómeno financiero, de falta de
liquidez que impide el cumplimiento puntual y cabal de las obligaciones, y que no debe
identificarse con el fenómeno de insolvencia que resulta de la insuficiencia de bienes
de activo en comparación al monto del pasivo de la empresa, y que era la iliquidez el
fenómeno objetivo que debería marcar el inicio de la materia concursal, a efecto de
evitar que el empresario recurriera a procedimientos económicos negativos para
ocultar su iliquidez, lo que normalmente producía un mayor deterioro de la empresa.



Sin embargo, la Comisión también reconoció los inconvenientes de que la declaración
de concurso de un comerciante se sustentara exclusivamente en un supuesto de
iliquidez o de insolvencia, pues, como ya se ha mencionado, uno de los propósitos
centrales de la legislación concursal es atender los males sociales derivados de un
incumplimiento generalizado de las obligaciones del empresario. A fin de proteger el
valor económico y social de una empresa en crisis, es necesario contar con un
procedimiento colectivo que permita maximizar dicho valor y, al mismo tiempo dar un
trato equitativo a los acreedores. De ahí que la Iniciativa prevea en concordancia con
         Case 22-10630-JTD        Doc 45-2    Filed 08/26/22    Page 24 of 66




las tendencias internacionales más recientes en la materia, que la declaración de
concurso mercantil de un comerciante pueda proceder cuando éste no cuente con
activos líquidos suficientes para hacer frente a sus obligaciones vencidas o cuando el
incumplimiento de sus obligaciones con varios acreedores rebase de un porcentaje
significativo. A este respecto, es pertinente mencionar la importancia de que las
empresas que atraviesan por problemas económicos o financieros que les imposibiliten
dar cumplimiento a sus obligaciones, puedan incorporarse tempranamente a un
procedimiento concursal, con el objetivo de proteger en la medida de lo posible su
valor para la sociedad como fuente de creación de empleos productivos y como
generadora de satisfactores y riqueza para la sociedad.



Es en este sentido, justamente, que la Comisión redactora pensó que deben dirigirse
las preocupaciones actuales, para que el valor social de la empresa se convierta en el
objetivo central. No es lo trascendente determinar si debe ser declarada en concurso la
empresa que carece de los recursos líquidos para cumplir puntualmente con sus
obligaciones a su vencimiento (fenómeno de iliquidez), o aquélla cuyo activo total es
inferior a su pasivo total (fenómeno de insolvencia). pues la importancia radica en
buscar su viabilidad económica, cuando ello es posible, mediante un convenio entre el
comerciante y sus acreedores.



La iniciativa de la declaración corresponde al propio comerciante, a los acreedores y al
Ministerio Público. El deudor común tiene la obligación de solicitar su concurso; sin
embargo no se le impone un término para hacerlo, ni se le sanciona por el
incumplimiento. Lo anterior con la finalidad de facilitar la prolongación de las
negociaciones en búsqueda de un convenio de reestructuración. La experiencia ha
demostrado que es una carga innecesaria exigir al comerciante, abrumado por sus
dificultades financieras, la presentación de documentos contables que el conciliador o
el síndico podrán verificar cuando procedan al cumplimiento de sus funciones.



Durante el periodo previo a la declaración y constitución del concurso entran en
conflicto dos valores diferentes: la necesidad de respetar la garantía de audiencia del
comerciante, cumpliendo con las formalidades esenciales del procedimiento y la
necesidad de adoptar medidas urgentes para evitar que un comerciante en estado de
falta de liquidez por negligencia, desesperación o mala fe, recurra a expedientes
ruinosos o fraudulentos en detrimento de la conservación de la empresa y de los
intereses de los acreedores. Para conciliar esos valores contrarios se proponen en la
Iniciativa la asistencia de un visitador, la posibilidad de adoptar medidas provisionales
y un procedimiento básicamente escrito en el cual se respeten las formalidades
esenciales del procedimiento.
         Case 22-10630-JTD        Doc 45-2     Filed 08/26/22   Page 25 of 66




El juez, al admitir una demanda de concurso deberá solicitar al Instituto Federal de
Especialistas   de   Concursos   Mercantiles   el   nombramiento   de   un     visitador   y
posteriormente ordenarla visita al comerciante. La finalidad de la visita es doble, por
un lado proporcionar al juez la evidencia especializada que necesita para tomar su
determinación acerca de si el comerciante se encuentra en los supuestos del
incumplimiento generalizado de pagos y, en su caso sugerir al juez la adopción de las
medidas provisionales necesarias para la preservación de la empresa y de los bienes
de la masa.



En un procedimiento escrito y rápido, el comerciante tendrá la oportunidad de
demostrar que tiene la liquidez necesaria para hacer frente a sus obligaciones. Se
elimina la prueba de testigos. ya que la liquidez o iliquidez no es una cuestión que
deba demostrarse con este medio de prueba. Igualmente se elimina la recepción de la
prueba de peritos en la forma tradicional establecida para los juicios ordinarios, ya que
el juez contará con el dictamen del visitador; lo que no significa que se prive al
comerciante del derecho de exhibir al juez opiniones escritas de expertos, cuando
estime que así le conviene. La sentencia de concurso es apelable. De manera
semejante a la legislación vigente, se prevé un proceso completo de conocimiento
durante la apelación y la posibilidad de que se resarza al comerciante de los daños y
perjuicios que se le ocasionen con una declaración de concurso producto de una
demanda formulada con negligencia o con la mala fe.



Otro tema de singular importancia, que también ocupó la atención de la Comisión en
primerísimo lugar, es el relativo a las medidas de prevención de la quiebra.



La ley vigente contempla dos figuras concúrsales: la suspensión de pagos y la quiebra.
La suspensión de pagos fue concebida como un beneficio para el comerciante fallido al
constituir un medio para prevenir su posible quiebra. En la práctica, el comerciante
cuya declaración de quiebra ha sido demandada por alguno de sus acreedores,
independientemente de que obre de buena o mala fe o de que se encuentre en los
supuestos para la declaración de quiebra, se acoge al beneficio de la suspensión de
pagos, debiendo los jueces concederla en un breve plazo. Además, aunque el
ordenamiento en vigor también señala claramente los requisitos que debe satisfacer la
declaración de quiebra de un comerciante, ello no lo impide que pueda gozar de
beneficio. Esto explica por qué el número de juicios de suspensión de pagos y de
quiebra es relativamente reducido y también porqué la mayoría de dichos juicios
termiran en su paralización.



Así, la suspensión de pagos en ocasiones ha sido utilizada por comerciantes poco
escrupulosos, como un medio de aplazar indefinidamente la declaración de quiebra, y
         Case 22-10630-JTD          Doc 45-2   Filed 08/26/22     Page 26 of 66




continuar manejando su negociación, aun en casos de flagrante insolvencia. Más aun
en la suspensión de pagos un comerciante adquiere un excesivo poder de negociación
frente a sus acreedores, pues se suspende el pago de sus créditos y demás
obligaciones. De ahí que algunos comerciantes, incluso aquellos con capacidad de pago
y acreditada solvencia tengan un fuerte incentivo para solicitar su suspensión de pagos
justamente como un mecanismo para evitar el cumplimiento de sus obligaciones
laborales, fiscales con proveedores y de cualquier otra índole.



En la práctica todo ello ha incidido en una falta de seguridad jurídica tanto para los
oferentes de recursos prestables como para sus demandantes y. por tanto en un
encarecimiento del crédito, ya sea a través de mayores primas por riesgo o en
términos y condiciones más onerosos en la forma de moratorios, plazos, avales,
garantías y penas convencionales. Así se ve limitado el acceso al crédito para los
empresarios honestos, previsores y prósperos. Quienes requieren de recursos para
emprender proyectos de inversión, incursionar en nuevos mercados o reorientar sus
esfuerzos a otras actividades productivas. De esta manera, se merma la capacidad de
nuestra sociedad para generar el ahorro suficiente para promover la inversión
productiva y en consecuencia se limitan las posibilidades de crecimiento económico,
presente y futuro de la sociedad.



Con base en las consideraciones anteriores, se consideró indispensable que el concurso
mercantil fuera un procedimiento unitario en el que subsistiese un procedimiento que
tendiera a prevenir la quiebra del comerciante, pues el lograr evitarla, en los casos en
que el comerciante de buena fe se ve obligado a incumplir en sus obligaciones, no sólo
redunda en beneficio del propio comerciante, sino también en el de sus acreedores, al
suprimir o reducir los gastos y complicaciones que ocasiona la quiebra formal. Lo que a
todo trance debe evitarse es que, so pretexto de buscar un convenio con los
acreedores, se obtenga un arma para paralizar los juicios en contra del comerciante, y
permitir que éste, cuando no actúa de buena fe, maneje su negociación como sino
hubiere incurrido en incumplimiento general, con riesgo de crear una situación cada
vez más grave para todos.



Por ello, la Comisión redactora de la Iniciativa optó por proponer que el concurso
mercantil tuviera dos etapas: la conciliación y la quiebra. La finalidad de la conciliación
será maximizar el valor social de la empresa fallida mediante un convenio entre el
Comerciante y sus acreedores. Por su parte, la finalidad de la quiebra será que, cuando
no sea posible alcanzar un arreglo durante la etapa de conciliación. se preserve el valor
de la empresa mediante su liquidación ordenada para que del producto de ésta se
proceda al reparto correspondiente entre el Comerciante y sus acreedores.
           Case 22-10630-JTD           Doc 45-2     Filed 08/26/22         Page 27 of 66




Se decidió que la etapa de conciliación operase ipso facto e ipso jure solamente por la
voluntad del empresario mercantil, pero limitada a un plazo fatal de seis meses, y con
la posibilidad de una sola aplicación con un máximo de otros tres meses, que podrá
concederla el juez cuando en ello consientan el Comerciante y una mayoría de sus
acreedores, esta primera etapa del concurso mercantil permitirá dilucidar en un plazo
razonable pero perentorio, si la empresa podrá seguir operando en manos de sus
dueños mediante un acuerdo con sus acreedores. De no lograse esto al vencer el plazo
indicado y. en su caso, la prórroga que se hubiere concedido, se procede entonces a la
declaración de quiebra del comerciante. El carácter perentorio que se da a la etapa de
conciliación, tiene como propósito generar un poderoso incentivo para que las partes
en conflicto con la asistencia de un conciliador imparcial que actuará como amigable
componedor entre ellas, procuren por todos los medios a su alcance subsanar sus
diferencias so pena de enfrentar mayores quebrantos de no poder preservarse la
marcha de la empresa en las manos de sus dueños originales. Resulta. pues
indispensable que el procedimiento para prevenir la quiebra termine en un plazo breve
y que se estructure de modo que por su simplicidad pueda marchar con rapidez y
economía.



Se propone entonces la conciliación, como otro derecho más a favor de los
empresarios mercantiles que enfrentan problemas económicos o financieros, a fin de
que dispongan de un período dentro del cual mantendrán la administración del negocio
y ningún crédito les podrá ser exigido. La presencia de un conciliador profesional e
independiente     y   las   disposiciones   que   favorecen     la   generación       y   difusión   de
información relevante, propiciarán mejores condiciones para un acuerdo.



De esta manera, con la etapa de conciliación se instituye obligatoriamente una nueva
figura de suspensión de pagos, pero temporalmente acotada, con el propósito de
proporcionar al comerciante y todos sus acreedores un espacio para que puedan
subsanar    sus   diferencias   mediante     la   celebración    de un convenio.           Con   estas
características, la etapa de conciliación contribuirá a dotar de mayor transparencia,
certidumbre y predicibilidad al procedimiento concursal y a adecuar los incentivos
entre los propios acreedores, y entre estos últimos y el comerciante. Se espera,
entonces, que la conciliación sustituya ventajosamente a la actual suspensión de
pagos.



Una economía de mercado se sustenta en transacciones voluntarias entre particulares
que reconocen la posibilidad de que los negocios no resulten de la manera
originalmente prevista.       Los   acreedores    del   comerciante,       por   lo   general,   otros
comerciantes,     conociendo     las   circunstancias   que     llevaron    a    la   empresa    a   la
imposibilidad de cumplir con sus obligaciones pueden decidir refrendar su confianza en
         Case 22-10630-JTD       Doc 45-2     Filed 08/26/22   Page 28 of 66




la empresa del comerciante reconociendo el valor que esta les aporta y permitiendo
mediante un acuerdo con él, llevar a mínimo posible las perdidas en que pudieron
haber incurrido.



La etapa de conciliación está orientada a crear las mejores condiciones para que se
puedan materializar en un convenio cualquier oportunidad de arreglo favorable a todos
los participantes. Si bien la naturaleza de un convenio es conseguir y reflejar un
concurso de voluntades, se permite que un convenio mayoritario sea impuesto a una
minoría disidente protegiendo debidamente sus derechos para evitar que una minoría
caprichosa o desinteresada impida una solución preferible para todos. La intención es
que todos los acreedores reciban al menos lo que les correspondería en el mejor caso
de enajenación en quiebra y ello se logra al asegurar a los disidentes las mejores
condiciones aceptadas por los acreedores de su grado que suscriban el convenio.



El convenio es, fundamentalmente un arreglo entre comerciantes, que se debe
beneficiar de todos los medios accesibles a las transacciones modernas. Hoy en día se
realizan negociaciones complejas y se suscriben contratos de todo tipo entre
comerciantes que se encuentran en distintos continentes. Siendo el convenio un
refrendo del negocio del comerciante con sus acreedores, es natural que su
preparación se ajuste a las prácticas comerciales de los mercados en que operan el
comerciante y sus acreedores.



En este contexto, la Comisión consideró conveniente permitir la mayor flexibilidad en la
formulación del convenio, cuidando las mínimas formalidades necesarias para la
seguridad jurídica de las partes. En consecuencia, no se regula la formulación y
negociación de proyectos o propuestas de convenios, ni se exige que los acreedores se
congreguen a discutir o a votar. Se prevén, sin embargo las instancias mínimas de
notificación y acceso que permiten a todos los interesados ejercer sus derechos y
participar en defensa de sus intereses. Hay un énfasis particular en asegurar que las
partes tengan información suficiente para tomar sus decisiones, y se establecen
mecanismos novedosos para su difusión.



Toda vez que un convenio no puede afectar a los créditos garantizados en cuanto a sus
garantías, sin consentimiento del acreedor correspondiente, sería natural limitar la
votación del convenio a los acreedores comunes. Sin embargo, la experiencia ha
demostrado que la participación de los acreedores garantizados puede resultar
sumamente valiosa para la consecución de un arreglo con el comerciante.
         Case 22-10630-JTD         Doc 45-2         Filed 08/26/22   Page 29 of 66




Adicionalmente, es frecuente que un número reducido de acreedores con o sin
garantías reales, asuma una participación más activa que los demás en la negociación
de un convenio. En la practica diversos acreedores se mantiene al margen de los
detalles de la preparación de un convenio, por el monto de sus créditos, su
desconocimiento del negocio del comerciante, los gastos y tiempos que implica su
participación o cualesquiera otras razones. En estas condiciones, es conveniente
permitir que el conjunto de acreedores que tenga mayores facilidades para hacerlo
asuma el liderazgo del convenio permitiendo a los demás reaccionar posteriormente
cuando así convenga a sus intereses.



Así, la Comisión buscó un mecanismo que permitiera llegar rápidamente a un
consenso, fomentando la participación de los acreedores garantizados, preservando
sus garantías y protegiendo debidamente los derechos e intereses de los acreedores
comunes.



Esto se logro con la convinación de dos elementos la formula para la votación
mayoritaria del convenio y disposiciones para proteger a las minorías disidentes de
acreedores comunes.



En cuanto a la mayoría necesaria para la aprobación del convenio se estableció que la
base sobre la cual se determine sea la suma del total de los créditos comunes y de
aquellos garantizados que decidan aprobarlo. Es decir, los montos de los créditos
garantizados que participen en el convenio se consideran al mismo tiempo como votos
favorables y como parte del padrón total, sumados a la totalidad de los créditos
comunes. Así, para determinar si se cumple la mayoría necesaria, se sumarán los
montos de los acreedores comunes y garantizados que aprueban la propuesta. Esta
cantidad se dividirá entre la suma de los montos de todos los acreedores comunes y de
los montos de aquellos garantizados que la aprobaron. Si este cociente resulta mayor a
un medio, se cumple la mayoría requerida.



De esta manera, la participación de los acreedores garantizados puede contribuir para
alcanzar la mayoría requerida. Para evitar que una mayoría lograda de esta manera
imponga condiciones desventajosas a la mayoría de los acreedores comunes, se
permite a éstos vetar la propuesta. Así, quienes estén en desacuerdo con la propuesta
tendrán la debida oportunidad de objetarla, pero el convenio puede prosperar si se
abstienen de manifestar su desacuerdo.



Siendo   el   convenio   obligatorio   para   los   acreedores   ausentes   y   disidentes   es
indispensable establecer disposiciones de protección a las minorías que preservando la
         Case 22-10630-JTD       Doc 45-2    Filed 08/26/22    Page 30 of 66




flexibilidad del proceso, impidan que el convenio se abuse para atropellar a los
disidentes. Así, se limita lo que se puede imponer a los acreedores disidentes, con
respecto al monto reconocido y convertido a UDIs, a una quita, espera o combinación
de ambas, igual a la más favorable de las que hayan aceptado quienes suscribieron el
convenio, siempre y cuando una proporción suficiente de quienes suscribieron el
convenio haya recibido tales condiciones. De este grupo de referencia se excluyen
quienes tengan vínculos familiares o patrimoniales relevantes con el comerciante.



El sistema propuesto permite a la vez respetar los derechos de las partes y explotar al
máximo las oportunidades de materializar un convenio.



La aplicación de la Ley de Quiebras y de Suspensión de Pagos, en la práctica. Ha
demostrado que el procedimiento de reconocimiento de créditos ha sido desvirtuado,
convirtiéndolo en contencioso relativo a todos y cada uno de los créditos del
comerciante. Esto se agrava con el requisito de la junta previa de acreedores para el
debate contradictorio de todos y cada uno de los créditos. Cualquier obstáculo al
reconocimiento detiene todo el procedimiento concursal, lo que impide dar una
solución oportuna a los problemas de la empresa.



En la Iniciativa se adopta un procedimiento flexible, paralelo a los esfuerzos de
conciliación y en su caso, de enajenación de la empresa. El procedimiento concursal no
se paraliza en el reconocimiento de créditos, sino que continúa automáticamente su
curso. Esto elimina los incentivos a dilatar frívolamente el reconocimiento y, por el
contrario, concilia los intereses del comerciante y de todos sus acreedores en su pronta
conclusión.



No se exige que los acreedores presenten su solicitud de reconocimiento; aunque
conviene que lo hagan. Se establece un período corto para que el conciliador publique,
con base en la contabilidad del comerciante y en los documentos que, en su caso, le
hayan sido presentadas por los acreedores en sus solicitudes; una lista provisional de
acreedores señalando el monto, graduación y prelación que, a juicio del especialista
corresponde a cada crédito con el fin de que los interesados puedan hacer sus
observaciones. A continuación, el conciliador deberá proporcionar la lista definitiva,
acompañada de las explicaciones y documentos adecuados, que aportarán al juez los
elementos en que deba basar su sentencia de reconocimiento, graduación y prelación
de créditos, lo que debe ocurrir con tiempo suficiente para celebrar el convenio antes
de que termine plazo establecido para la conciliación. La sentencia de reconocimiento,
graduación y prelación de créditos es apelable en el efecto devolutivo. Al igual que en
la ley vigente, para la apelación se prevé un proceso completo de conocimiento.
            Case 22-10630-JTD     Doc 45-2     Filed 08/26/22    Page 31 of 66




Durante la etapa de conciliación, como un beneficio para el comerciante, se le permite
mantener la administración de su empresa. Sin embargo, para la protección de la
empresa y de sus acreedores, se prevé que el conciliador vigile las operaciones del
comerciante y que apruebe todas aquellas que excedan de la marcha ordinaria de la
negociación.



Por otra parte, la Iniciativa contempla la posibilidad de que el Conciliador pueda
solicitar al juez la remoción del comerciante en la administración de su empresa
cuando este obstaculice o entorpezca la labor del Conciliador. Para la protección del
comerciante la resolución del juez se substanciara por la vía incidental entre el
Conciliador y el Comerciante.



Finalmente en caso de que se llegara a la etapa de quiebra el comerciante será
desapoderado de sus bienes y derechos, debiendo el instituto desiganar a un síndico
quien procederá a la ocupación de los bienes del quebrado y tendrá como mandato
proceder a la enajenación de la masa.



Otro tema que la Comisión consideró fue la necesidad de evitar las injusticias y
problemas que se presentaban a los acreedores interesados frente a los acreedores
desinteresados. Es casi inevitable que una empresa fallida tenga una multiplicidad de
acreedores de diversa naturaleza, con distinto monto de créditos y con desigual interés
en el procedimiento concursal. Algunos acreedores tienen manifiesto interés en el
procedimiento concursal, en su rápida conclusión y en la recuperación de sus créditos,
pero deben sufrir el lastre de los acreedores desinteresados.



Con esta visión se optó por la supresión de la junta de acreedores, puesto que su
convocatoria integración y operación era uno de los mayores obstáculos en el trámite
ágil de los procedimientos concursales. La junta de acreedores, que en la ley vigente
sólo tiene una función verdaderamente decisoría en caso de propuesta de convenio, ha
mostrado tan poca utilidad que en muchos procedimientos de quiebra no llega nunca a
reunirse.



Estrechamente relacionado con lo anterior, y que también fue objeto de amplia
discusión, fue el tema relativo a la función de la intervención. En la aplicación reiterada
del ordenamiento en vigor, los interventores nombrados por el juez en la sentencia
declarativa de la quiebra, en cumplimiento de lo dispuesto en la Ley, por regla general
no muestran interés alguno en la marcha de los procedimientos sino que suelan ser
           Case 22-10630-JTD          Doc 45-2   Filed 08/26/22     Page 32 of 66




más celosos de sus atribuciones quienes llegan a ser nombrados, en raras ocasiones,
por los propios acreedores.



Sobre el papel de los interventores, hay dos tendencias en el derecho moderno: una,
eliminar la figura de la intervención por innecesaria, pues los acreedores pueden
individualmente atender la vigilancia de la actuación del síndico, la agilidad del proceso
y la defensa de sus intereses, sin necesidad de un órgano de la quiebra que los
represente; y otra, conservar la intervención y asignarle un área de responsabilidad
precisamente en donde se encuentran los intereses de los acreedores. En apoyo de la
supresión de la junta de acreedores como órgano y permanente, la Comisión se definió
por la segunda tendencia al proponer que la intervención subsista como un órgano
necesario y permanente la Comisión se definió por la segunda tendencia al proponer
que la intervención subsista como un órgano del procedimiento concursal, pero con
carácter contingente. La iniciativa prevé que cualquier acreedor o grupo de acreedores
que represente por lo menos el diez por ciento del pasivo concursal, podrá designar, a
su costa un interventor que vigile sus intereses y los represente en las negociaciones
entre el comerciante y sus acreedores.



El principio del estricto cumplimiento de los contratos libremente convenidos es el pilar
de una sociedad libre y democrática. Es la base de la seguridad jurídica que es el
presupuesto del desarrollo económico de cualquier sociedad. Esta Iniciativa lo reconoce
al establecer     que con las     excepciones que contiene        el proyecto, continuarán
aplicándose     las   disposiciones   sobre   obligaciones   y   contratos,   así   como   las
estipulaciones de las partes.



Entre los puntos en que la Iniciativa se separa de las disposiciones de la ley en vigor,
se encuentran los relativos a la conversión de las deudas a Unidades de Inversión y las
disposiciones expresas sobre deudas en moneda extranjera. Así como las relativas a
los reportos, préstamos de valores, contratos diferenciales o de futuros y otras
operaciones financieras derivadas, para adecuarías a las prácticas contemporáneas del
mercado.



Se dispuso la no acumulación de los litigios arbitrales o judiciales entre el comerciante
y terceros. Para protección de los intereses de la masa, se atribuye al conciliador o al
síndico, según sea el caso, el derecho de participar en dichos litigios. Se tomará en
cuenta la resolución final, cuando establezca créditos a cargo del comerciante, para los
efectos de reconocimiento, graduación y pago. Si el litigio se resuelve estableciendo
derechos a favor del comerciante, corresponderá ejecutar esa resolución para beneficio
de la masa; en caso contrario, la ejecución servirá al tercero para obtener la
separación de bienes a que tenga derecho. Con esta solución se racionaliza el uso de
         Case 22-10630-JTD       Doc 45-2    Filed 08/26/22    Page 33 of 66




los recursos del Poder Judicial al terminar con la práctica de abrumar al juez del
concurso con una avalancha de expedientes, muchos de ellos en estado avanzado y
cuyo conocimiento y decisión le resultará especialmente difícil, cuando no imposible.
Esta solución, también respeta las estipulaciones de selección de foro y de resolución
de controversias libremente convenidas entre las partes antes de la constitución del
estado de concurso.



Un tema que mereció especial atención de la Comisión fue el tratamiento de los
acreedores laborales y fiscales. En primer lugar, se reconoció la jerarquía que dichos
acreedores deben mantener en un juicio concursal. En segundo lugar, se busco que su
tratamiento fuera congruente con el interés de ampliar en la mayor medida posible las
posibilidades de un convenio entre el comerciante y sus demás acreedores.



Con base en estas dos premisas se decidió que a partir de la sentencia de concurso
mercantil se suspendan todos los procedimientos de ejecución de los acreedores
fiscales y laborales, salvo para el caso de los créditos laborales consignados en la
fracción XXlll del apartado A del articulo 123 constitucional pero ampliado estos a los
salarios devengados de los últimos dos años para proteger los derechos de los
acreedores laborales.



En segundo lugar, se dispuso que con el propósito de que las resoluciones de la
autoridad laboral puedan adecuarse a la materia concursal, el conciliador o el síndico
en su caso, puedan sustituir las garantías embargadas por la autoridad laboral
mediante una fianza que a satisfacción de esta última satisfaga su pretensión.



En lo que hace a los créditos fiscales, con el fin de facilitar un convenio entre el
comerciante y sus acreedores, se establece que la autoridad fiscal cancelará las
multas, recargos y otros accesorios que se hubieren causado a partir de la sentencia
de declaración de concurso mercantil. Adicionalmente, se faculta al comerciante y al
conciliador a llegar a convenios particulares con los trabajadores y a negociar con las
autoridades fiscales condonaciones y autorizaciones, con el propósito de que pueda
ofrecer a sus demás acreedores un convenio más atractivo. Por otra parte, a fin de que
ello no diera lugar a incentivos inapropiados para algunos contribuyentes se decidió
que para efectos del pago de los créditos, fiscales en caso de que no hubiere convenio,
la autoridad fiscal podrá incluir, en la determinación del monto de sus créditos, a
dichos accesorios.



El tratamiento a los créditos garantizados es otro de los aspectos más importantes de
cualquier procedimiento concursal. Por un lado, para asegurar la disponibilidad de este
          Case 22-10630-JTD        Doc 45-2   Filed 08/26/22     Page 34 of 66




tipo de créditos. el concurso debe respetar en lo esencial sus privilegios y beneficios.
Por otro lado, es necesario evitar que la ejecución desordenada de las garantías
obstaculice la instancia de preservación de valor que ofrece el concurso.



La Iniciativa respeta, pues, los diferentes tipos de garantía real, pero ordena la
participación de sus titulares en el procedimiento. Como es natural, cuando el valor de
la garantía es superior al adeudo al inicio del concurso, los créditos garantizados
siguen devengando intereses ordinarios hasta donde alcance dicho valor. Si el valor de
la garantía es inferior al del adeudo, la diferencia se considera como crédito común,
por lo que deja de causar intereses y se convierte a unidades de inversión.



Durante el período de conciliación, se impide la separación de los bienes que sean
objeto de alguna garantía pero se establece la obligación al comerciante y al
conciliador de vigilar su debida conservación. Terminada la conciliación, los acreedores
con garantía real y con privilegio especial recuperan la facultad de proceder a la
ejecución de sus garantías, salvo que hubieren convenido en ser partes en el convenio
o se le paguen sus créditos hasta el valor de los bienes objeto de la garantía o
privilegio.




Los titulares de los créditos con garantía real participan como tales en las decisiones
que la ley atribuye. Sin embargo, como se ha señalado, en los casos en que la garantía
no cubra el monto total del crédito al iniciar el concurso, el faltante recibe el
tratamiento de un crédito común, por lo que resulta necesario permitir la participación
del acreedor por dicho faltante en las decisiones de los acreedores comunes.



Para evitar condicionar el avance del procedimiento a una valuación de todos y cada
uno de los bienes que sean objeto de una garantía real, se optó por dar la opción a los
acreedores garantizados que consideren que el valor de sus garantías es insuficiente
para cubrir la totalidad del adeudo reconocido al inicio del concurso de atribuir un valor
a sus garantías de manera que puedan participar como acreedores comunes por el
monto faltante. Para evitar abusos, el acreedor que ejerce esta opción está obligado a
renunciar, en favor de la masa, a cualquier excedente entre el valor de la garantía que
finalmente se realice y el monto que le atribuyó para las votaciones. La diferencia
entre el adeudo reconocido y el valor atribuido por el acreedor a su garantía recibe el
tratamiento de un crédito común.



En cuanto al mecanismo de liquidación judicial de los bienes del quebrado, hipótesis
que se dará solamente cuando haya sido materialmente imposible rehabilitar la
         Case 22-10630-JTD        Doc 45-2    Filed 08/26/22   Page 35 of 66




empresa, se mantienen prácticamente las mismas disposiciones de la Ley de Quiebras
y de Suspensión de Pagos.



Al igual que la conciliación la quiebra tiene como objetivo preservar el valor de la
empresa para repartirlo, conforme a sus respectivos derechos, entre el comerciante y
los diferentes tipos de acreedores.



El síndico toma posesión de la empresa con el mandato de enajenarla de la manera
que se obtenga el máximo valor posible. Según el caso, esto puede lograrse mediante
una reorientación administrativa, operativa o financiera de la empresa, vendiendo la
empresa entera o algunas de sus partes a otro comerciante que pueda materializar
más valor, o bien disolviéndola y vendiendo los bienes separados al mejor postor.
Cuando el negocio o cualquiera de sus partes sea viable como empresa en marcha, el
síndico deberá hacer los arreglos necesarios para venderla como tal, ya que esto
permitirá el valor máximo.



La mejor manera de enajenar los activos varia enormemente de una empresa a otra.
En algunos casos por ejemplo, al medio idóneo será una venta publica en la localidad
del comerciante, con un mínimo de formalidades. En otros casos puede ser apropiado
realizar una licitación internacional, posponer la enajenación de la empresa mientras se
completa su reestructuración, transferir los activos a una nueva sociedad y vender las
acciones o negociar una venta privada con el único comprador posible.



Así por un lado conforme al objetivo de lograr el máximo valor de realización de la
masa, es conveniente dar oportunidad a que la empresa entera. alguna parte de ella o
cualquier conjunto de bienes de la misma, se enajenen mediante el mecanismo que
mejor se adapte a las circunstancias particulares de la empresa, y a las mejores
prácticas comerciales en los mercados relevantes.



Por otro lado, atendiendo a la intención de que todo el procedimiento concursal sea
transparente y confiable, se reconoce que la enajenación de la masa puede ser
vulnerable a abusos y prácticas irregulares, por lo que es necesario establecer en la
Ley los incentivos y controles necesarios para asegurar que nadie se aproveche
indebidamente del procedimiento, propiciando la participación constructiva y la
vigilancia mutua de todos los interesados.



La solución adoptada por la Comisión consiste en permitir al síndico proponer al juez
cualquier mecanismo de enajenación consistente con su mandato de lograr el máximo
          Case 22-10630-JTD         Doc 45-2    Filed 08/26/22     Page 36 of 66




valor,   explicando   y   justificando   debidamente   su   propuesta,   que   se   hace   del
conocimiento del comerciante y sus acreedores. Si, pasado un plazo razonable, no
manifiestan su desacuerdo con la propuesta el comerciante o una proporción
significativa de los acreedores, el juez autoriza al síndico a proceder conforme a la
misma. Si la propuesta es objetada, la enajenación del conjunto de bienes de que se
trate se realiza mediante un mecanismo de subasta pública, cuidadosamente regulado
en la propia Ley.



De esta manera, se permite al síndico la oportunidad de convencer a los interesados de
proceder conforme a un mecanismo de enajenación ad hoc. En caso de persistir
cualquier causa de desconfianza, se recurre necesariamente al sistema preestablecido
que asegura la transparencia y minimiza la posibilidad de sospechas e impugnaciones.



Conservando la efectividad de las garantías y el respeto a los derechos del acreedor
garantizado, se propone un mecanismo para impedir la separación prematura de
activos indispensables que sean objeto de una garantía, en los casos en que su
enajenación resulte conveniente para la masa.



Para la determinación de los repartos, la Iniciativa mantiene, en lo fundamental, los
grados y prelaciones establecidas en la ley vigente, realizando sólo los cambios
mínimos necesarios para adecuarlos a las nuevas disposiciones.



El régimen penal de las quiebras se muestra poco eficaz y raras veces llegan a
aplicarse las sanciones previstas para los casos de quiebra culpable o fraudulenta; sin
contar con los casos de los quebrados que se sustraen a la acción de la justicia
mediante la fuga. Ello se debe en gran parte a que los tribunales han considerado
necesario para incoar el proceso penal, el que se haya agotado los medios de
impugnación en contra de la sentencia declarativa de la quiebra. Se elimina sin
embargo, la necesidad de clasificación, por el juzgador de concurso.



El principio de que el acreedor tiene un derecho de prenda sobre el patrimonio del
deudor, conforme al cual el deudor responde del cumplimiento de sus obligaciones con
todos sus bienes, justifica que se sancione penalmente al deudor comerciante que,
dolosamente. se coloca en una situación de incumplimiento generalizado de sus
obligaciones.



Es imposible enumerar exhaustivamente las múltiples y diversas conductas mediante
las cuales el deudor comerciante puede lograr su finalidad de burlar a sus acreedores.
            Case 22-10630-JTD        Doc 45-2       Filed 08/26/22         Page 37 of 66




La Iniciativa busca englobarlas a todas, y no dejar impune a ninguna, mediante un tipo
que se refiere, genéricamente, a toda conducta dolosa que cause o agrave la situación
de incumplimiento generalizado de las obligaciones líquidas y exigibles. En esa
definición quedan comprendidas todas las ocultaciones, simulaciones, falsificaciones y
engaños que pueda realizar el deudor comerciante.



La Iniciativa instruye al juez para que, al individualizar la pena, entre el mínimo de un
año de prisión y el máximo de cinco años. tenga en cuenta la cuantía del perjuicio
inferido a los acreedores y el número de éstos.



La Iniciativa se preocupa, en primer lugar, por motivar al deudor para que dé
cumplimiento a sus obligaciones. Por esta razón, propone que los delitos en situación
de concurso se persigan por querella del acreedor, a fin de abrir la puerta al perdón del
ofendido.



No   pesa    responsabilidad   penal,    desde      luego,    sobre   el    comerciante    a   quien
sobrevinieren infortunios que, sin intervención de su voluntad, reduzcan su capital al
extremo de tener que incumplir en sus pagos. Esta hipótesis conforma lo que la Ley de
Quiebras y de Suspensión de Pagos vigente llama quiebra fortuita. La Iniciativa estima
inútil ocuparse de conductas que no constituyen delito.



La Iniciativa independiza, hasta un cierto punto, el procedimiento concursal del
procedimiento penal. El primero tiene como finalidad maximizar el valor del patrimonio
del concursado y lograr el pago de los acreedores. El segundo busca sancionar las
conductas delictuosas del deudor. Los intereses de la justicia exigen que ambos
procedimientos avancen sin estorbarse. Desaparece, por ello, la institución de la
calificación de la quiebra que solo servia como escudo de protección de delincuentes.



La Iniciativa propone que los delitos en situación de concurso, cometidos por el
deudor, podrán perseguirse sin esperar a la conclusión del procedimiento de concurso
mercantil y sin perjuicio de la continuación de éste, que las decisiones del juez que
concede del procedimiento de concurso mercantil no vinculan a la jurisdicción penal y
que no será necesaria la calificación de concurso para perseguir estos delitos.



Tramitándose    el   procedimiento      concursal    y   el   procedimiento     penal     en   forma
independiente, cualquiera de ellos puede terminar antes que el otro. No debemos
temer a la contradicción de las sentencias, pues no lo habrá. No puede haberlas pues,
como arriba dijimos, el juez concursal busca únicamente, el cumplimiento, total o
         Case 22-10630-JTD        Doc 45-2     Filed 08/26/22   Page 38 of 66




parcial de obligaciones. Él es el único competente para resolver sobre reparación del
daño. En tanto que al juez penal le compete decidir si se ha cometido o no delito y, en
su caso, sancionarlo.



Resta, no obstante, una relación entre ambos procedimientos. Se tipifica una conducta
propia del comerciante declarado, por sentencia firme, en concurso mercantil. Esta
característica personal es uno de los elementos del tipo, luego entonces los
procedimientos penales. en este caso, únicamente podrán iniciarse cuando el juez de
lo concursal haya declarado al comerciante en concurso mercantil, y esta declaración
reviste el carácter de un requisito de procedibilidad.



Se sanciona al comerciante contra el cual se siga un procedimiento concursal, en dos
hipótesis: cuando haya llevado su contabilidad en forma que no permita conocer su
verdadera situación financiera o la haya alterado, falsificado o destruido, o cuando
requerido por el juez del procedimiento concursal, no ponga su contabilidad, dentro del
plazo que para ello se le considere, a disposición de la persona que el juez designe.



Durante las últimas dos décadas, la economía nacional se ha caracterizado por su
inserción creciente a los flujos internacionales de comercio y de capitales. Las
empresas mexicanas han acrecentado significativamente su participación en el
comercio exterior, se han beneficiado de las fuentes de financiamiento que les
proporciona su acceso a los mercados internacionales de capitales y cada vez un
mayor número de ellas se aventura a extender sus operaciones a otras latitudes.
Asimismo, ocurre con las empresas extranjeras que han visto en nuestro país un clima
propicio para ampliar sus oportunidades comerciales y de inversión. No debe
sorprender entonces que en este contexto de globalización las dificultades económicas
y financieras por la que pudiera atravesar una negociación tengan una incidencia no
solo sobre aquellos que comparten su ubicación geográfica sino también sobre aquellas
que están localizadas en otras partes del mundo.



En virtud de lo anterior, las diferencias en los procedimientos concúrsales de las
naciones afectan de manera importante a las empresas que tienen activos y pasivos en
varios países. Desde una perspectiva práctica, esa diversidad propicia una mayor
incertidumbre tanto para el empresario en crisis como para sus acreedores y por lo
tanto actúa en detrimento de una aplicación efectiva de la legislación concursal
especialmente en naciones como la nuestra donde es cada vez mas frecuente que las
operaciones de las empresas trasciendan las fronteras nacionales.
          Case 22-10630-JTD          Doc 45-2        Filed 08/26/22    Page 39 of 66




Atendiendo a estas tendencias, la comunidad internacional desarrolló en el seno de la
Comisión para la Legislación sobre Comercio Internacional de las Naciones Unidas. una
Ley Modelo que busca dar congruencia a los procedimientos de índole concursal entre
los países. Esta Ley fue negociada entre más de 40 países con los sistemas legales
más variados. Una de las características más importantes de la Ley Modelo es que
tiene   por   objetivo   propiciar   una   cooperación      efectiva   y    acotada   entre   los
procedimientos concúrsales de las naciones. Mediante ordenamientos comparables con
todos los sistemas legales y que, por lo tanto, la hacen fácilmente adaptable al marco
jurídico de cada nación. Concretamente, facilita la cooperación entre procedimientos
legales que se llevan en una nación y los que ocurren fuera de ella. De esta manera, el
país que adopta la Ley Modelo, además de reconocer la importancia de sus
transacciones    transfronterizas,   facilita   el    reconocimiento   de    un   procedimiento
extranjero y la cooperación y coordinación entre los tribunales y los órganos de la
quiebra en distintos países.



Con base en las consideraciones anteriores la Comisión redactora reconoció la
necesidad de seguir avanzando en la modernización de ordenamientos jurídicos que
regulan la actividad comercial y financiera de nuestro país, incorporando a la Iniciativa
de Ley de Concursos Mercantiles un capitulo de cooperación internacional de
procedimientos, para lo cual se realizaron las adecuaciones necesarias a la Ley Modelo
de la Comisión para la Legislación sobre Comercio Internacional de las Naciones
Unidas. Con ello, México se colocará a la vanguardia de los esfuerzos de la comunidad
internacional para modernizar su marco jurídico en materia concursal en respuesta a
los retos de la globalización. No podemos concluir la presentación de esta Iniciativa sin
insistir en la urgencia de una nueva legislación en la materia, puesto que la realidad
social ha rebasado a la normatividad existente Cuando un ordenamiento constituye un
obstáculo para la solución de los problemas que presenta la realidad socioeconómica
que se pretende regular la realidad se impone y busca las soluciones aun al margen del
derecho con grave detrimento de la vida jurídica; se aprovechan y manipulan las
disposiciones que resultan inconvenientes a la solución de los problemas en muchos
casos con predominio del interés particular sobre el colectivo, y se ignoran y
desprecian las normas que impiden las soluciones.
Case 22-10630-JTD   Doc 45-2   Filed 08/26/22   Page 40 of 66




Exhibit 1-T
          Case 22-10630-JTD          Doc 45-2     Filed 08/26/22     Page 41 of 66




                                    BANKRUPTCY LAW
                                  " STATEMENT OF GROUNDS "




Publication date: 12/5/00
Legal provision: LAW
Official gazette: 8-I
Body: MINISTRY OF THE INTERIOR
CHAMBER OF ORIGIN: SENATORS STATEMENT OF GROUNDS Mexico F.D. November 23,
1999.   BILL   SUBMITTED     BY   SENATORS:     (PRD,   PRI   PARLIAMENTARY       GROUPS     and
INDEPENDENT) CC. CLERKS OF THE CHAMBER OF SENATORS BY HAND



Those who sign, Senators of the Republic of the LVII Legislature of the H Congress of the
Union, members of the Parliamentary Groups of the Democratic Revolution Party (PRD for its
acronym in Spanish), the Institutional Revolutionary Party (PRI for its acronym in Spanish),
and the independent senator Adolfo Aguilar Zinser, based on provisions of the Section II of
Article 71 of the Political Constitution of the United Mexican States as well as by Section II of
Article 55 of the Interior Government for the General Congress Regulations, submit for
consideration of this H. Assembly the following Bankruptcy Law, according to the following:



STATEMENT OF GROUNDS

Importance of the bankruptcy legislation.



Social and economic conditions that prevailed in Mexico in the decade of the forties have
been radically transformed. Our population has multiplied by five times the gross domestic
product has grown by more than fifteen times the participation of the industrial and service
sectors has increased significantly and the primary sector has been reduced. The
demographic growth and the march of the countryside towards the city have been of great
magnitude. The progress in telecommunications and the means of transport has taken giant
steps, at that time unimaginable.



The way of doing business is also different. In the past most of the commercial companies
were sole or family proprietorship and relatively easy to manage. Today, commercial
relations are more complex and subject to a greater number of factors, some of an
international nature that affect the economic life of the nations individually considered -
although of different form and degree - and others are specific to the national realities; that
affect the progress of the company. Product cycles have become shorter, and companies are
           Case 22-10630-JTD         Doc 45-2      Filed 08/26/22      Page 42 of 66



exposed to more frequent changes and sometimes wider in the conditions of the financial
markets. All this forces companies to transform more quickly.



The economy, of being typically regional was integrated into a national economy, until
entering a stage of insertion in the world economy. In parallel, the money and stock
markets, which half centuries ago were practically non-existent have acquired a great
preponderance as a means of financing development. Our country has been integrated into
the world economy in response to the benefits offered by the globalization process, not only
in terms of the exchange of goods and services with foreign countries, but has also been
integrated into the growing financial and investment flows.



The   productive   chains    are   integrated   vertically   and   horizontally,   nationally   and
internationally, technologically and by sector. The greater competitiveness forces some
companies to respond nimbly to the new market niches and to abandon those where they no
longer have competitive advantages. As society is modernized, the number of companies
increases, and in the same way those factors that make their competitiveness, profitability
and permanence in the market vary.



There is, however, a serious problem when there are conditions that lead an entrepreneur,
quickly and irremediably, to face economic and financial problems, even when this is
motivated by an error of calculation or foresight committed by an honest, competent and
prosper entrepreneur. The company, considered as the organization of work, material and
intangible goods intended to produce or offer professionally goods and services to the
market, for profit, can be successful or be in serious difficulties that threaten their survival.
Bankruptcy of a company is not about a singular and concrete breach of an obligation, but a
general breach, which affects all those that have a relation with the company and also
affects the economic survival of the employees who work in it, so that its bankruptcy affects
its entire social environment.



In addition, when a company is unable to comply in a generalized manner in its liquid
obligations with a plurality of creditors, there is a risk that a situation will arise in which the
collection through individual action by its creditors will result in a detriment to the total value
of the company. In this case the individual action can also affect the priority that existed
among creditors, resulting in inequities. This is the moment in which the bankruptcy law
should direct its regulations to try to prevent the company from failing, to waste the creative
effort already made by the entrepreneur, and not to hurt the social conglomerate that, to
some extent, benefits with the own functioning of the company. The possible bankruptcy is
then an economic phenomenon, and the purpose of bankruptcy legislation is precisely to
address the social ills derived from this singular phenomenon.
           Case 22-10630-JTD         Doc 45-2     Filed 08/26/22     Page 43 of 66



Regarding the legal framework that regulates commercial relationships between individuals,
it should be taken into account that, in the past, Mexican courts and their procedural laws
were created to solve problems of companies established in smaller cities, in which all
parties met and found all the days in the public and work places. In such social conditions it
was feasible to assume in the judge basic knowledge and immediacy with the company,
necessary to solve many of the problems caused by the lack of liquidity. In addition that
cessation of payments were less in a society that showed less degree of development.
Today, life in cities does not allow judges to know personally the parties involved, the
number of businesses submitted to it is overwhelming, the size and complexity of
commercial enterprises requires that they be handled             by teams of specialists in
administration, accounting and in the various fields of commercial, industrial or service
activity in question.



For all the above, the legal framework cannot remain outside the progress of society. To
promote a healthy and sustained economic growth that offers development opportunities to
the entire population, a necessary condition is to have an appropriate legal framework that
offers certainty and confidence in the solution of conflicts between individuals, facilitates the
efficient reassignment of productive resources in the economy and contributes that the exit
of companies from markets affects the less possible their social and economic environment.
The legal framework that regulates economic activity in this sense has been modernized
during the last years. Not only commercial agreements have been established with the main
countries of the world, but the Federal Competition Law was also issued, and important
advances have been made in the way of resolving conflicts among individuals, highlighting
among them the Arbitration Law.



Bankruptcy legislation also plays a strategic role. Its purpose is to order the processes of
restructuring companies, seeking in the first place to take advantage of the experience and
knowledge of the entrepreneur in bankruptcy and, on the other hand, to ensure that
creditors, whether commercial or financial, can also continue to operate. When an instance
can not successfully conclude, the State can play a central role coordinating efforts,
providing a forum where information flows and viable companies can take advantage of to
restructure, continue operating and maintain employment. On the other hand, when it is the
case that the companies are no longer viable, the State plays a fundamental role in the
reallocation of productive factors, so that employees can find new sources of productive and
well-remunerated employment and the assets are taken for use by other more productive
companies. In this process, creditors and tradesmen obtain the greatest value from the
company or from the assets that make it up and, with opportunity they can resume other
businesses and activities that contribute to the general welfare of the company.



Thus, the situation of a company facing economic or financial problems that threaten its
survival constitutes an object of public interest, which requires a participation consistent
with the economic reality, relying on institutions for the administration of justice and, on the
          Case 22-10630-JTD          Doc 45-2     Filed 08/26/22      Page 44 of 66



other hand, in the experience and knowledge that independent agents can contribute to this
type of processes. To a large extent, this is the concern of not only Mexico but also countries
with a higher degree of economic development, such as Germany, Spain, France, England
and the Netherlands, and countries with a similar economic structure as Argentina, Brazil,
Chile, Indonesia, Peru and Colombia, to review, update and modernize the legal framework
of the bankruptcy of a company.



Bankruptcy & Payment Suspension Law



The current bankruptcy legislation comes from 1942, when the Bankruptcy & Payment
Suspension Law was issued. Our regulation in bankruptcy matters has evolved in response
to the different political, economic and social realities. The first order in this matter was the
bankruptcy law of 1853 influenced by the French Commercial Code of 1808 and the Spanish
of 1829 that regulated cessation of payments of a tradesmen due to lack of liquidity. The
next precedent, with which the insolvency matter acquired federal character, was the
Commercial Code of 1854, but this had an ephemeral validity due to the Ordinances of
Bilbao that were put into effect after the triumph of the Ayutla Revolution. Later, the
bankruptcy regime was amended with reforms to the Commercial Code in 1884 and 1890. It
was not until the beginning of the forties that it was considered appropriate to have a special
law on the matter, mainly in response to the need to recognize the progress of commercial
matters. The current law was drafted with undoubted technicality by one of the most
prominent mercantilists of the time, Mr. Joaquin Rodriguez y Rodriguez, who also received
the influence of the best Spanish doctrine on the subject matter.



The law in force recognized that bankruptcy is an economic phenomenon in which the State
has a fundamental interest, which should not only concern creditors and that the company
represents an objective value of economic and social organization, so that the company's
conservation is the fundamental directive norm of the legislation in this subject matter. It
also acknowledged that simplification of the procedure should be sought, without loss of the
guarantee of legal security and that integrity of the procedure should be protected among
the people who handle the bankruptcy. Authors of this Bill pay tribute to those who
intervened in the making of the Bankruptcy & Payment Suspension Law that came into force
on April 20, 1943, because they designed a mechanism according to the economic and social
conditions of the time. However, as national institutions and commercial conditions were
transformed, this law was presenting diverse problems that were diminishing the
effectiveness in its application. As early as 1968, the renowned mercantilists Roberto
Mantilla Molina and Jorge Barrera Graf directed a preliminary draft for a new Bankruptcy
Law. This bill was oriented to address the problems arising from the suspension of payments
figure, resolve delay in the procedures, problems in the integration and operation of the
bankruptcy organs and to review the provisions of criminal law. This project replaced the
suspension of payments by a judicial moratorium limited to sixty days, proposed a registry
          Case 22-10630-JTD         Doc 45-2        Filed 08/26/22   Page 45 of 66



of professionals authorized to act as receiver, purged and simplified procedural procedures,
replaced the bodies of intervention and the creditors' meeting by a Trustee in Bankruptcy,
and expedited recognition of credits suppressing the need to open a contradictory debate for
each of these credits. Subsequently, on January 13, 1987, a reform was made to the law
currently in force in order to address the problems related to the receivership body.
Specifically, it was proposed in the corresponding statement of grounds the assignment of
the receiver in bankruptcy proceedings of private tradesmen to the chambers of commerce
or industry; and dealing with state-owned entities, companies in the social sector and other
companies, assignment of the receivership to the national credit company designated by the
Ministry of Finance and Public Credit.



In 1987 Salvador Rocha Díaz, prepares a proposal for the Law of Support, Rehabilitation and
Bankruptcy of Companies in which an out-of-court instance of support for tradesmen in crisis
is proposed, the figure of the creditors' meeting was eliminated, the powers of the
intervention are strengthened. Substitution of the payment suspension for a legal
moratorium with a fatal term of one year was also proposed, which the concurrent creditors
could only extend unanimously or, otherwise, the tradesman was declared bankrupt. The
contradictory debate was suppressed in order to speed up the recognition of credits and the
intervention was left with the task of establishing the amount, graduation and priority that
corresponded to each credit. Another innovation was simplification of requirements for the
approval of the agreement and the task of proposing a rehabilitation plan that would allow
the bankrupt to restructure its liabilities was for the receiver, such task if approved by the
judge would be enforceable against all creditors.



More recently, in 1994 the parliamentary group of PAN submitted to the consideration of the
Chamber of Deputies a Bill on Rehabilitation and Bankruptcy of Commercial Entrepreneurs,
whose authorship was mainly due to Mr. Daniel de la Garza Gutiérrez. In this bill important
contributions tending to strengthen the legal security of the parties through the
simplification of judicial procedures can be seen, especially to promote recognition of more
expeditious and less contentious credit. Functions of the bankruptcy bodies are redefined
and requirements are established to promote professionalization of the receivership.
Suspension of payments was replaced by an instance of conciliation and another of cessation
of payments and the intervention of the judge was limited to strictly jurisdictional aspects.



The Bill, the Drafting Commission and the sources.



The Bankruptcy Bill submitted today for consideration of this H. Senate, was prepared
thanks to the efforts of PRD, PRI and independent legislators that, with collaboration of the
Federal Executive Branch officers, as a whole integrated the Drafting Commission.
             Case 22-10630-JTD       Doc 45-2      Filed 08/26/22     Page 46 of 66



In order to elaborate a Bill for a new Bankruptcy Law, it was considered indispensable to
take as reference points, on the one hand, the current law, the bill submitted preserves a
fundamental core of the principles of that legal body, adopting, increasing and modifying
what is necessary to formulate one more in line with the society and contemporary
practices.



The Commission considers that there are substantive reasons to propose the elaboration of a
new law instead of proposing reforms to the currently in force, in such manner many of the
commercial law teachers who have devoted themselves specifically to this matter and who
have prepared preliminary drafts in this regard were in line. The above without losing the
best provisions of the current law in the preliminary draft, even though with a diverse
system. Differences between the current law and the bill recognize the evolution of
commercial practices, the development of new commercial institutions and the profound
changes in the composition of Mexican society from 1943 to the present.



Successive drafts were analyzed and commented on by various business and labor
representations. Recognized jurists, groups of lawyers, judges and practitioners who made
contributions on procedural, constitutional, labor and commercial and criminal aspects of the
preliminary draft. Public forums were organized for presentation of some drafts in the
Federal District, Monterrey and Guadalajara in order to gather concerns of lawyers,
entrepreneurs, academics and professional associations. Thus, the Bill submitted today
contains the pertinent recommendations of this large group of citizens.



The Bill, as already noted, also benefits from inspiration and help that comparative law
provides; especially in the most modern trends that can be seen in recent reforms to the
bankruptcy legislation of a number of countries. Finally, the enormous experience acquired
in the application of the current law allowed knowing the nature of the commercial relations
between individuals that arise in Mexican practice and that the Bill is called to rule.



Criteria and general ideas.



The first issue that occupied the authors of the Bill was to identify the central objectives of
the bankruptcy law, in order that its dispositions would keep full congruence with them and
would constitute suitable means to obtain them. The central objective was easily identified,
providing the relevant regulations to maximize the value of a company in crisis through its
conservation, which protects the employment of its human elements, the negative economic
impact to society caused by the loss of a company that provides goods or services is avoided
and recovers the business effort that said company represents for its owner. In case it was
impossible to keep the company in the hands of its owners, the Bill should contain the norms
that allowed to preserve the economic value of the company or of the goods and rights that
             Case 22-10630-JTD        Doc 45-2        Filed 08/26/22   Page 47 of 66



integrate it by means of a procedure of ordered liquidation maximizing the product of the
alienation and gave fair treatment to the tradesman and its creditors.



In order for the bankruptcy legislation to be effective, it must be characterized to be fair and
transparent. Predictability is achieved by establishing clear and precise rules that allow its
application in a consistent manner and therefore, offer certainty and discourage litigation.
Equity, on the other hand, is not achieved by giving equal treatment to different creditors,
but by recognizing differences and, above all, avoiding fraud and favoritism. Finally,
transparency obliges to provide sufficient information to the different participants so that
everyone can exercise their rights, and also requires that judicial procedures are open and
that decisions are supported on and made known to the public.



The above features allow to establish the appropriate incentives so that creditors and
potential debtors can make the best decisions and these contribute to increase the efficiency
of the productive system. In addition, once the company has incurred in a general breach of
its obligations, the law must contribute for the parties to reach private agreements with the
least participation of the State or if this is not possible, the rights are executed expeditiously
and orderly, in the best possible conditions.



Specifically, the most important criteria that guided the development of the Bill were the
following:



a) Maximize the social value of the company;

b) Keep the balance between debtor and creditors, so that both are fully respected;

c) Induce the flow of relevant information that allows interested parties to participate
constructively;

d) Respect as far as possible the preexisting contractual relationships;

e) Adjust incentives to facilitate a voluntary arrangement between debtors and creditors;

f)   Foster out-of-court solutions;

g) Support judges in technical and administrative aspects of proceedings, so that they can
focus their efforts on the jurisdictional tasks and

h) Simplify judicial procedures and administrative procedures to make them more
transparent and expeditious, reducing opportunities and incentives for frivolous litigation.
          Case 22-10630-JTD         Doc 45-2      Filed 08/26/22     Page 48 of 66



Description of the Bankruptcy Bill.



The following is a description of the main elements of the Bankruptcy Law submitted for
consideration of the H. Congress of the Union.



The Bill regulates the bankruptcy of people who, according to our laws, have the character of
tradesmen. It is clarified that the trust assets may be submitted for bankruptcy, when it is
for business activities. Provisions relating to bankruptcy of partners with unlimited liability,
inheritance of tradesman and branches of foreign companies are preserved and those
relating to irregular companies are improved.



Legal provisions related to bankruptcy of controlling and controlled companies, which were
not included in the current Law, are also incorporated.



On the other hand, after a careful analysis of provisions applicable to insurance and bonding
companies, regulations regarding bankruptcy of these institutions are suppressed, and their
bankruptcy proceedings are allowed to continue to be regulated by their special laws and
other provisions currently applicable to them.



Likewise, the special chapters for the case of public concessionaires, credit institutions and
auxiliary credit organizations are adapted according to the bankruptcy procedure proposed in
the Bill. In these cases, it was essential to recognize the particular nature of these
companies and the public interest they represent. The Bill harmonizes the competition of
these institutions with the special provisions that govern them, and establishes the due
participation of the entities that authorize, regulate and supervise them.



As established from the statement of grounds of the Bankruptcy & Payment Suspension Law,
the Commission acknowledged that the bankruptcy is an economic phenomenon that not
only interests to individuals involved but is a legal-economic manifestation in which the
State has a preponderant and fundamental interest so therefore, it has proposed, consistent
with provisions of Section 1 of the constitutional Article 104 that it was competence of the
federal courts to hear the bankruptcy of tradesmen.



A concern of the drafting Commission of the Bill was to reorganize the functions of the
judge, the receiver and the intervention in such a way that they can be developed in a more
independent manner, each of the bodies having specific deadlines for performance of their
functions, in order to make the bankruptcy proceedings more transparent and prevent them
from being prolonged too long.
          Case 22-10630-JTD         Doc 45-2      Filed 08/26/22     Page 49 of 66



First, it seeks to redefine the function of the judge within the bankruptcy proceedings. The
Commission reached the conclusion that the most important problems that arise in a
company in a state of lack of liquidity are of a commercial and administrative nature and can
be solved by experts in these commercial matters. Only a limited number of issues, relating
to relations of the tradesman with third parties and the protection of their rights, necessarily
require the intervention of the judicial authority and compliance with the essential
procedural formalities.



The Bill keeps the judge as the central organ and director of the bankruptcy, but recognizes
that the specialization in the branches of private law and procedures that judges and
litigating attorneys have, does not prepare them in our days to resolve on matters in courts
for which they are not necessarily prepared. To adequately resolve financial problems, time,
competent personnel and material means, which are essential to overcome the obvious crisis
faced by a company that has been unable to meet its obligations in a generalized manner, it
is necessary to have the participation of specialists who assist the judicial authority in its
resolutions.



Disadvantages of following the traditional system of leaving the judge responsible for all
decisions, not only the jurisdictional ones that correspond to their natural function, but the
administrative, industrial, commercial, economic and financial decisions that result,
necessary for rehabilitation or, where appropriate, liquidation of the failed company were
perceived as serious. It is useless to insist that, neither in Mexico nor in any other country,
judge has the necessary support to deal with all the problems of a non-jurisdictional nature
that arise in bankruptcy proceedings. For that reason, the modern tendency has been to
reserve to the judge only the legal problems that in the legal proceedings that in the
bankruptcy proceedings are presented. And to other bodies of bankruptcy the administrative
responsibility: the judge must intervene in the jurisdictional controversies related to an
administrative or financial question but they cannot have the responsibility to make
decisions in such matters.



Reasons outlined above led the Commission that drafted the Bill to draw up a careful
distinction between those issues which, since they affect the rights of the tradesman and
other interested parties, or involve litigation between them, are judicial in nature and those
of a commercial, accounting, financial or administrative character and which must be
resolved by specialists in these fields. The proposed Bill makes a consistent distinction
between judicial tasks and attributions and those that are properly commercial. When it was
necessary, as in the case of the declaration of bankruptcy and the inspection visit, the
resolution is responsibility of the judge, but the fundamental weight of the accounting,
financial or administrative analysis that illustrates the judge so that it can better provide,
corresponds to the specialist.
            Case 22-10630-JTD          Doc 45-2       Filed 08/26/22    Page 50 of 66



The bodies of bankruptcy have not been integrated or have not functioned in the manner
provided by law. Receivership was considered with special attention, judging it as the most
delicate. The drafting Commission thought that entrust it to the chambers of commerce or
industry or to credit institutions is an excellent measure in theory, but up to now, it has
failed in practice. It is considered, in the abstract, that this was an optimal solution, because
if the bankruptcy interests the generality of the trade, there is nothing better than entrusting
the receivership to institution that has the function of representing its general interests, that
is, those mentioned chambers; but the organization and structure of most of them does not
allow, today, to adequately address the complex functions of a receivership. Only in a few
cases chambers and credit institutions have accepted the receivership and, due to this lack
of interest, have tended to delegate this important responsibility to third parties, who are
the ones who have actually carried out the receivership. Currently, there is a lack of a
system that ensures a professional and competent receivership and with the adequate
human and economic collaboration to solve the crisis of the failed company.



According to the stages of the bankruptcy proceeding, the Bill attributes powers to three
classes of specialists: visitors, conciliators and receivers. Attributions of specialists are
important and delicate. Specialists must have moral solvency, knowledge and experience in
the branch of the activity that corresponds to their attributions. Professionals whose
preparation allows them to attend these functions form a group in which these specialists
can easily be recruited, such as graduates in law, graduates in business administration,
graduates    in   economics,      accountants   and    financial   engineering   specialists.   Such
professionals are the most indicated, in the current situation of our society, to accept and
perform the functions that typically have been reserved for the receivership, plus those
attributed to them by the Bill.



To ensure that there are people who have the necessary requirements to carry out their task
with competence and honesty, as well as transparency in their designation, the Bill proposes
the creation of the Federal Institute of Bankruptcy Specialists, as an entity dependent on the
Federal Judiciary Council and whose main function will be to authorize people who prove to
meet the necessary requirements, to provide services of visitors, conciliators or receivers.
Also, among other functions, will have the request of the bankruptcy judge, designate by
draw among the accredited individuals, who will serve as visitors, conciliators and receivers.
In this way, it is expected to have a transparent means of selecting the specialists who will
act in the bankruptcy proceedings. It is attributed to this Institute the concentration of the
lists of receivers, and of the files of each one of the individuals that appear in them, to
centralize the data of all the Republic, and to facilitate the verification of the lists, as well as
the publicity of them and of some of the acts that concern to functions entrusted to them by
the Bill.



This reform seeks to relieve the ZeTWUnc task in the bankruptcy proceedings without
depriving it of its primary function, and allowing the work of the specialists to produce
          Case 22-10630-JTD          Doc 45-2     Filed 08/26/22      Page 51 of 66



immediate and real results in the solution of the problems of a company in crisis.



When designing the internal structure of the Institute, it was sought, at all times, to ensure
that it has the greatest possible technical and operational autonomy. Likewise, it was sought
to maintain it outside of its direct intervention in the bankruptcy proceedings and that
members of its Board of Directors were people of recognized prestige in the relevant matters
(administrative, accounting, financial, economic and law) for accreditation, designation and
supervision of specialists in the bankruptcy process. Finally, to foster its institutional
memory, it was decided that its Board would be composed of five members that would be
appointed in a staggered manner.



The Bill makes a particular emphasis on ensuring that any and all parties to a bankruptcy
proceedings has sufficient information to make its decisions. For this purpose, the use, in
various instances of the proceedings of pre-established formats of free reproduction that
allow ensuring that all relevant data are presented in a clear and orderly manner is
established as a requirement. This practice that has given good results in other countries
favors the standardization and efficiency of the procedures. The responsibility for issuing and
updating these formats will correspond to the Institute.



Some specific aspects of the bankruptcy proceedings require a more detailed and above all
flexible regulation than it is convenient to include in a law. Such is the case, e.g. the regime
of fees for the specialists or of the suitable means to give publicity to the auctions in the
bankruptcy. On the one hand it is impossible to foresee in the legislative act all the possible
cases that the practice is revealing and that require special treatment. On the other hand, to
the extent that markets and commercial practices evolve, it is necessary to adapt some
provisions accordingly.



The Institute is responsible for issuing and updating the rules, as long as they are of general
application. The continuous effort of full-time dedicated professionals to perfect the technical
and operational aspects of the bankruptcy proceedings will contribute to maintaining the
effectiveness and validity of the set of provisions that make up the Bill.



The legal systems that regulate the singular phenomenon of bankruptcy have had a slow
transformation, and it is until the last years when the new economic phenomena have
motivated an important effort of study and reflection, which must lead to a legal framework
that effectively contributes to solution of multiple problems that it has.



Drafters of the law in force recognized the advantages of establishing as a detonator
criterion for the bankruptcy declaration of a tradesman to the generalized failure to pay. This
           Case 22-10630-JTD         Doc 45-2    Filed 08/26/22    Page 52 of 66



legislative decision is based on the reflection that such non-payment is a financial
phenomenon, lack of liquidity that prevents full and timely compliance with obligations, and
that should not be identified with the insolvency phenomenon that results from the
insufficiency of goods, assets in comparison to the amount of the company's liabilities, and
that illiquidity was the objective phenomenon that should mark the beginning of the
bankruptcy subject matter, in order to prevent entrepreneur resorting negative economic
procedures to hide its illiquidity, which usually produces a greater deterioration of the
company.



However, the Commission also acknowledged the disadvantages that the declaration of
insolvency of a tradesman was based exclusively on a case of illiquidity or insolvency, since,
as already mentioned, one of the central purposes of the bankruptcy legislation is to take
care of the social ills resulting from a generalized breach of the entrepreneur's obligations.
In order to protect the economic and social value of a company in crisis, it is necessary to
have a collective procedure that allows maximizing this value and, at the same time, gives
an equitable treatment to creditors. Hence the Bill foresees in concordance with the most
recent international tendencies in the subject matter, that the bankruptcy declaration of a
tradesman can proceed when it does not have sufficient liquid assets to face its expired
obligations or when the breach of its obligations with several creditors exceed a significant
percentage. In this regard, it is pertinent to mention the importance of companies that are
experiencing economic or financial problems that make it impossible for them to comply with
their obligations, can be incorporated early in a bankruptcy proceeding, with the aim of
protecting their value for society, as much as possible, as a source of creation of productive
jobs and as a generator of satisfactions and wealth for society.



Precisely in this sense, the drafting Commission thought that the current concerns should be
addressed, so that the social value of the company becomes the central objective. It is not
important to determine whether the company that lacks of liquid resources to comply
punctually with its obligations at maturity (illiquidity phenomenon), or whose total assets is
less than its total liabilities (insolvency phenomenon) is declared in bankruptcy, since the
importance lies in looking for its economic viability, when it is possible, by means of an
agreement between the tradesman and its creditors.



The initiative for declaration corresponds to tradesman itself, to creditors and to the Public
Prosecutor. The common debtor is required to ask for its bankruptcy; however, no term is
imposed to do so, nor is sanctioned for non-compliance. The foregoing in order to ease the
prolongation of negotiations in pursue of a restructuring agreement. Experience has shown
that it is an unnecessary burden to demand from tradesman, overwhelmed by financial
difficulties, the presentation of accounting documents that conciliator or receiver can verify
when they proceed to fulfill their functions.
          Case 22-10630-JTD         Doc 45-2      Filed 08/26/22       Page 53 of 66



During the period prior to the declaration and constitution of the bankruptcy, two different
values come into conflict: the need to respect the guarantee of audience of the tradesman,
complying with the essential formalities of the proceedings and the need to adopt urgent
measures to prevent a tradesman in lack of liquidity due to negligence, despair or bad faith,
resort to ruinous or fraudulent files to the detriment of the company's conservation and the
interests of creditors. To reconcile these contrary values, the Bill proposes the assistance of
a visitor, the possibility of adopting provisional measures and basically written proceedings
in which the essential formalities of the proceedings are respected.



Judge, upon admitting an action for bankruptcy, should request the Federal Institute of
Bankruptcy Specialists to appoint a visitor and then order the visit to the tradesman. The
purpose of the visit is twofold, on the one hand to provide judge with the specialized
evidence it needs to make its determination as to whether the tradesman is in assumptions
of general non-payment and, if appropriate, to suggest judge the adoption of the provisional
measures necessary for preservation of the company and the assets of the estate.



In written and fast proceedings, the tradesman will have the opportunity to demonstrate
that it has the necessary liquidity to face its obligations. The witness evidence is eliminated
since liquidity or illiquidity is not a question that must be demonstrated with this means of
proof. Likewise, reception of the expert test in the traditional way established for ordinary
trials is eliminated, since judge will have the opinion of visitor; this does not mean that the
tradesman is deprived of the right to show judge written opinions of experts, when it
considers that this is convenient for it. The bankruptcy judgment allows filing of an appeal.
Similar to the current legislation, a complete process of knowledge is provided during the
appeal and the possibility that the tradesman is compensated for damages that may be
caused by a declaration of bankruptcy proceedings from an action made with negligence or
with bad faith.



Another issue of singular importance, which also occupied the attention of the Commission in
the first place, is that relating to the measures for prevention of bankruptcy.



The current law contemplates two insolvency figures: suspension of payments and
bankruptcy. The suspension of payments was conceived as a benefit for the failed tradesman
by providing a means to prevent possible bankruptcy. In practice, the tradesman whose
declaration of bankruptcy has been sued by one of its creditors, regardless of whether it acts
in good or bad faith or is in the cases for the declaration of bankruptcy, accepts the benefit
of the suspension of payments, judges must grant it in a short time. In addition, although
the current ordinance also clearly indicates requirements that must be met by the
bankruptcy declaration of a tradesman, this does not prevent it from the benefit. This
explains why the number of lawsuits for suspension of payments and bankruptcy is relatively
small and also why most of these lawsuits end in their paralysis.
           Case 22-10630-JTD           Doc 45-2    Filed 08/26/22     Page 54 of 66



Thus, suspension of payments has sometimes been used by unscrupulous tradesmen, as a
means of indefinitely postponing the declaration of bankruptcy, and continues managing
their negotiation, even in cases of flagrant insolvency. Even in suspension of payments a
tradesman acquires an excessive power of negotiation in front of its creditors, because
payment of its credits and other obligations is suspended. Hence, some tradesmen, even
those with payment capacity and accredited solvency have a strong incentive to request
their suspension of payments just as a mechanism to avoid compliance with their labor, tax
obligations with suppliers and any other nature.



In practice, all this has affected a lack of legal security for both lenders of loanable resources
and their claimants therefore, in an increase in the credit price, either through higher risk
premiums or in more onerous terms and conditions in the form of default, terms,
guarantors, guarantees and conventional penalties. Thus, access to credit is limited for
honest, forward looking and prosperous entrepreneurs. Those who require resources to
undertake investment projects, venture into new markets or reorient their efforts to other
productive activities. In this way, the capacity of our society to generate sufficient savings to
promote productive investment is diminished and consequently the possibilities of present
and future economic growth of society are limited.



Based on the foregoing considerations, it was considered essential that the insolvency
proceedings be a unitary proceeding in which a proceeding subsists that would tend to
prevent the bankruptcy of the tradesman, because if such is avoided, in cases where the
tradesman in good faith is bound to default on its obligations, not only benefits the
tradesman itself, but also that of its creditors, by suppressing or reducing the expenses and
complications caused by the formal bankruptcy. What should be avoided at all costs is that,
under the pretext of seeking an agreement with creditors, a weapon is obtained to paralyze
the lawsuits against the tradesman, and allow it, when not acting in good faith, to handle its
negotiation as would have incurred in general non-compliance, with the risk of creating a
situation that is increasingly serious for all.



Therefore, the drafting Commission of the Bill chose to propose that the insolvency
proceedings had two stages: conciliation and bankruptcy. The purpose of the conciliation will
be to maximize the social value of the failed company through an agreement between
Tradesman and its creditors. For its part, the purpose of the bankruptcy will be that, when it
is not possible to reach an agreement during the conciliation stage the value of the company
is preserved through its orderly liquidation so that from the product of it proceeds to the
corresponding distribution between the Tradesman and its creditors.



It was decided that the conciliation stage operated ipso facto and ipso jure only by the will of
the commercial entrepreneur, but limited to a fatal term of six months, and with the
possibility of a single application with a maximum of another three months, which could be
          Case 22-10630-JTD          Doc 45-2     Filed 08/26/22     Page 55 of 66



granted by the judge when the Tradesman and a majority of its creditors consent, this first
stage of the insolvency proceedings will allow to clarify in a reasonable but peremptory
period, if the company could continue operating in the hands of its owners through an
agreement with their creditors. If this is not achieved by the deadline indicated and, if any,
the extension that has been granted then proceeds to the declaration of bankruptcy of the
tradesman. The peremptory character that is given to the conciliation stage has the purpose
of generating a powerful incentive for the parties in conflict with the assistance of an
impartial conciliator to act as a friendly conciliator among them, to try by all means, at their
disposal, to correct their differences under penalty of facing greater losses of not being able
to preserve the progress of the company in the hands of its original owners. It is therefore
essential that proceedings to prevent bankruptcy ends in a short period of time and that it
be structured so that, due to its simplicity, it can move quickly and economically.



Conciliation is then proposed, as another right more in favor of commercial entrepreneurs
who face economic or financial problems, so that they have a period within which they will
maintain the management of the business and no credit could be demanded to them. The
presence of a professional and independent conciliator and the provisions that favor the
generation and dissemination of relevant information will lead to better conditions for an
agreement.



Thus, with the conciliation stage, a new figure of suspension of payments is temporarily
instituted, but temporarily limited, with the purpose of providing tradesman and all its
creditors with a space so that they can correct their differences through the conclusion of an
agreement. With these features, the conciliation stage will contribute to providing greater
transparency, certainty and predictability to the bankruptcy proceedings and to adapt the
incentives among the creditors themselves, and between the latter and the tradesman. It is
expected, then, that the conciliation will advantageously replace the current suspension of
payments.



A market economy is based on voluntary transactions between individuals that recognize the
possibility that the businesses do not turn out in the way originally planned. Creditors of
tradesman, usually other tradesmen, knowing the circumstances that led the company to
the impossibility of fulfilling their obligations may decide to endorse their trust in the
company of the tradesman recognizing the value that this provides and allowing through an
agreement with it, to minimize the losses that may have been incurred.



The conciliation stage is aimed to create the best conditions so that any opportunity for a
favorable arrangement for all participants can materialize in an agreement. While the nature
of an agreement is to achieve and reflect a contest of wills, a majority agreement is allowed
to be imposed on a dissident minority by duly protecting their rights to prevent a capricious
or disinterested minority from preventing a preferable solution for all. The intention is for all
          Case 22-10630-JTD         Doc 45-2      Filed 08/26/22     Page 56 of 66



creditors to receive at least what corresponds to them in the best case of alienation in
bankruptcy and this is achieved by assuring dissidents the best conditions accepted by
creditors of their degree who sign the agreement.



The agreement is essentially an arrangement between tradesmen, who must benefit from all
means accessible to modern transactions. Nowadays, complex negotiations are carried out
and contracts of all kinds are signed among tradesmen located in different continents. Since
the agreement is an endorsement of the tradesman's business with its creditors, it is natural
that its preparation is in line with the commercial practices of the markets in which the
tradesman and its creditors operate.



In this context, the Commission considered it convenient to allow greater flexibility in the
formulation of the agreement, taking care of the minimum formalities necessary for the legal
security of the parties. Consequently, the formulation and negotiation of projects or
proposals for agreements is not regulated, nor is it required that creditors meet to discuss or
vote. However, the minimum notification and access instances are allowed, which allow all
interested parties to exercise their rights and participate in defense of their interests. There
is a particular emphasis on ensuring that the parties have sufficient information to make
their decisions, and novel mechanisms are established for their dissemination.



Since an agreement cannot affect the guaranteed credits in terms of their guarantees,
without the consent of the corresponding creditor, it would be natural to limit the vote of the
agreement to the common creditors. However, experience has shown that the participation
of secured creditors can be extremely valuable for the achievement of an arrangement with
the tradesman.



Additionally, it is common for a small number of creditors with or without real guarantees to
assume a more active participation than others in the negotiation of an agreement. In
practice, several creditors remain outside the details of an agreement preparation, due to
the amount of their credits, their ignorance of the business of the tradesman, the expenses
and times involved in their participation or any other reasons. In these conditions, it is
convenient to allow the group of creditors that has greater facilities to do so to assume the
leadership of the agreement allowing the others to react later when it suits their interests.



Thus, the Commission sought a mechanism that would allow a consensus to be reached
quickly, encouraging the participation of secured creditors, preserving their guarantees and
duly protecting the rights and interests of common creditors.



This was achieved with combination of two elements, the formula for the majority vote of
           Case 22-10630-JTD          Doc 45-2      Filed 08/26/22      Page 57 of 66



the agreement and provisions to protect dissident minorities from common creditors.



Regarding the majority necessary for approval of the agreement, it was established that the
base on which it is determined is the sum of the total of common credits and of those
guaranteed that decide to approve it. That is to say, the amounts of the guaranteed credits
that participate in the agreement are considered at the same time as favorable votes and as
part of the total register, added to the totality of the common credits. So to determine if the
necessary majority is met, the amounts of the common and guaranteed creditors that
approve the proposal will be added. This amount will be divided between the sum of the
amounts of all common creditors and the amounts of those guaranteed that approved it. If
this quotient is greater than a half, the required majority is fulfilled.



In this way, the participation of secured creditors can contribute to achieve the required
majority. To prevent a majority obtained in this way from imposing disadvantageous
conditions on most common creditors, these are allowed to veto the proposal. Thus those
who disagree with the proposal will have the opportunity to challenge it, but the agreement
can prosper if they refrain from expressing disagreement.



Being the agreement mandatory for absent and dissenting creditors it is essential to
establish protection provisions for minorities that, while preserving the flexibility of the
process, prevent the agreement from being abused in order to run over the dissidents. This
limits what can be imposed on dissenting creditors, with respect to the amount recognized
and converted to UDIs, to a reduction, extension of time or combination of both, equal to
the most favorable of those accepted by those who signed the agreement, provided that,
when a sufficient proportion of those who signed the agreement have received such
conditions. From this group of reference are excluded those who have relevant family or
patrimonial relationships with the tradesman.



The proposed system allows both to respect the rights of the parties and to exploit to the
fullest the opportunities to materialize an agreement.



The application of the Bankruptcy & Payment Suspension Law, in practice has shown that
the credit recognition proceedings has been distorted, turning it into a dispute regarding any
and all the tradesman's credits. This is aggravated by the requirement of the prior creditors'
meeting for the contradictory debate of any and all of the credits. Any obstacle to
recognition stops the entire insolvency proceeding, which prevents a timely solution to the
company's problems.



In the Bill, a flexible procedure is adopted, parallel to the efforts of conciliation and, where
             Case 22-10630-JTD       Doc 45-2      Filed 08/26/22     Page 58 of 66



appropriate, to the alienation of the company. The bankruptcy proceedings are not paralyzed
in the recognition of credits, but automatically continue its course. This eliminates the
incentives to frivolously delay the recognition and, on the contrary, conciliates the interests
of the tradesman and all its creditors in its early conclusion.



Creditors are not required to submit their application for recognition, although it is
convenient that they do it. A short period is established for the conciliator to publish, based
on the accounts of the tradesman and on the documents that, in its case, have been
presented to it by creditors in their applications; a provisional list of creditors indicating the
amount, graduation and priority that, in the opinion of the specialist, corresponds to each
loan so that the interested parties can make their observations. Next, conciliator must
provide the final list, accompanied by the appropriate explanations and documents, which
will provide the judge with the elements to base its sentence of recognition, graduation and
preference of credits, which must occur in time to execute the agreement before the
deadline established for the conciliation ends. The recognition, graduation and preference of
credits judgment allows filing of an appeal without suspension of judgment. As in the current
law, a complete knowledge process is envisaged for the appeal.



During the conciliation stage, as a benefit to the tradesman, it is allowed to maintain
management of its company. However, for protection of the company and its creditors, it is
expected that the conciliator will monitor the operations of the tradesman and will approve
all those that exceed the ordinary course of the negotiation.



On the other hand, the Bill contemplates the possibility that Conciliator may request the
judge removal of the tradesman in the administration of its company when it hinders or
interferes the work of Conciliator. For protection of the tradesman the resolution of the judge
will be substantiated by incidental proceeding between Conciliator and Tradesman.



Finally, if the bankruptcy stage is reached, tradesman will be deprived of its assets and
rights, and the institute must designate a receiver who will proceed to the occupation of the
bankrupt's assets and will have as mandate to proceed to the alienation of the estate.



Another issue that the Commission considered was the need to avoid the injustices and
problems that were presented to interested creditors in the face of disinterested creditors. It
is almost inevitable that a failed company has a multiplicity of creditors of different nature,
with different amounts of credit and with unequal interest in the bankruptcy proceedings.
Some creditors have clear interest in the bankruptcy proceedings, in its quick conclusion and
in the recovery of their credits, but they must suffer the burden of the disinterested
creditors.
          Case 22-10630-JTD            Doc 45-2   Filed 08/26/22     Page 59 of 66



With this vision, suppression of the creditors' meeting was chosen, since its call, integration
and operation was one of the biggest obstacles in the agile process of bankruptcy
proceedings. The creditors' meeting, which in the current law only has a truly decisive
function in case of an agreement proposal, has shown so little use that in many bankruptcy
proceedings it never reaches a meeting.



Closely related to the above, and which was also subject of extensive discussion, was the
matter related to the function of the intervention. In the repeated application of the current
law, the court auditors appointed by the judge in the declaratory judgment of bankruptcy, in
compliance with provisions of the Law, as a general rule, show no interest whatsoever in the
progress of the proceedings, but tend to be more jealous of their attributions who come to
be appointed, on rare occasions, by the creditors themselves.



On the role of court auditors, there are two tendencies in modern law: one, to eliminate the
figure of intervention as unnecessary, since creditors can individually attend to the
surveillance of the receiver's performance, the agility of the process and the defense of their
interests, without the need for a body of bankruptcy to represent them; and another, keep
the intervention and assign an area of responsibility precisely where the interests of the
creditors are located. In support of suppression of the creditors' meeting as a permanent
body, the Commission was defined by the second tendency to propose that the intervention
subsist as a necessary and permanent body, Commission was defined by the second
tendency to propose that the intervention subsist as an organ of the bankruptcy
proceedings, but with a contingent character. The Bill provides that any creditor or group of
creditors that represents at least ten percent of the bankruptcy liability may designate, at its
expense, a court auditor to monitor their interests and represent them in negotiations
between the tradesman and its creditors.



The principle of strict compliance with freely agreed contracts is the pillar of a free and
democratic society. It is the basis of legal security that is the estimation of the economic
development of any society. This Bill recognizes this by establishing that, with exceptions
contained in the project, provisions on obligations and contracts, as well as stipulations of
the parties, will continue to apply.



Among the points in which the Bill is separated from the provisions of the law in force, are
those relating to the conversion of the debts to Investment Units (UDIS for its acronym in
Spanish) and the express provisions on debts in foreign currency. As well as those relating
to repurchase agreements, securities loans, differential or futures contracts and other
derivative financial transactions, in order to adapt them to contemporary market practices.



The non-accumulation of arbitral or judicial litigation between the tradesman and third
             Case 22-10630-JTD       Doc 45-2      Filed 08/26/22    Page 60 of 66



parties was ordered. For protection of the estate interests, to conciliator or receiver, as the
case may be, is attributed the right to participate in such litigation. The final resolution will
be taken into account, when establishing credits in charge of the tradesman, for the
purposes of recognition, graduation and payment. If the litigation is resolved by establishing
rights in favor of the tradesman, it will correspond to execute that resolution for benefit of
the estate; otherwise, the execution will serve the third party to obtain the separation of
assets to which it is entitled. With this solution the use of the resources of the Judicial
Branch is rationalized by ending the practice of overwhelming the bankruptcy judge with an
avalanche of files, many of them in an advanced state and whose knowledge and decision
will be especially difficult, if not impossible. This solution also respects the stipulations of
forum selection and resolution of disputes freely agreed between the parties before the
constitution of the bankruptcy status.



One issue that deserved special attention from the Commission was the treatment of labor
and tax creditors. In the first place, the hierarchy that these creditors must maintain in a
bankruptcy proceeding was recognized. In the second place, it was sought that its treatment
was consistent with the interest of expanding as much as possible the possibilities of an
agreement between tradesman and its other creditors.



Based on these two premises, it was decided that as from the bankruptcy judgment all the
enforcement procedures of the tax and labor creditors be suspended, except in the case of
the labor credits recorded in Section XXIII Sub-section A of Article 123 constitutional but
expanded these to the salaries earned in the last two years to protect the rights of labor
creditors.



In the second place, it was established that, with the purpose that resolutions of the labor
authority can be adapted to the insolvency matter, conciliator or receiver, if any, could
substitute the guarantees seized by the labor authority by means of a bond that to
satisfaction of the latter satisfies its remedies sought.



Regarding tax credits, in order to facilitate an agreement between tradesman and its
creditors, it is established that the tax authority will cancel the fines, surcharges and other
accessories that would have been caused as of the declaration of bankruptcy. In addition,
tradesman and conciliator are empowered to reach specific agreements with the employees
and to negotiate with the fiscal authorities cancellations and authorizations, with the purpose
of offering to its other creditors a more attractive agreement. On the other hand, in order to
avoid inappropriate incentives for some taxpayers, it was decided that for purposes of
payment of fiscal credits, if there was no agreement, the fiscal authority could include, in the
determination of the amount of its credits, such accessories.
          Case 22-10630-JTD         Doc 45-2      Filed 08/26/22     Page 61 of 66



Treatment of guaranteed credits is another of the most important aspects of any insolvency
proceedings. On the one hand, to ensure availability of this type of credit, the insolvency
proceedings must respect in essence its privileges and benefits. On the other hand, it is
necessary to avoid that the disorderly execution of the guarantees hinders the instance of
preservation of value offered by the insolvency proceedings.



The Bill respects, then, the different types of real guarantees, but it orders the participation
of its holders in the proceedings. Naturally, when the value of the guarantee is higher than
debt at the beginning of the insolvency proceedings, the guaranteed credits continue
accruing ordinary interest to the extent that value reaches. If the value of the guarantee is
lower than debt, the difference is considered as common credit, so it stops causing interest
and is converted into investment units.



During the conciliation period, the separation of goods that are the object of a guarantee is
prevented, but the obligation to the tradesman and the conciliator to monitor their proper
conservation is established. Once the conciliation is completed, creditors with collateral and
special privileges recover the power to proceed with the execution of their guarantees,
unless they have agreed to be parties to the agreement or their credits are paid up to the
value of the assets subject of the guarantee or privilege.



Holders of credits with collateral participate as such in the decisions that the law attributes.
However, as noted, in cases where guarantor does not cover the total amount of the credit
at the beginning of the insolvency proceedings, the shortfall is treated as a common credit,
so it is necessary to allow creditor to participate for such shortfall in the decisions of the
common creditors.



To avoid conditioning the progress of the proceedings to a valuation of any and all assets
subject to a collateral, we opted to give the option to the secured creditors who consider
that the value of their guarantees is insufficient to cover the entire debt recognized at the
beginning of the insolvency proceedings to attribute a value to its guarantees so that they
can participate as common creditors for the shortfall. To avoid abuses, creditor who
exercises this option is bound to renounce, in favor of the estate, any surplus between the
value of the guarantee that is finally made and the amount attributed for the voting.
Difference between the recognized debt and the value attributed by creditor to its guarantee
is treated as a common credit.



As for the mechanism of judicial liquidation of the bankrupt assets, a hypothesis that will
only appear when it has been materially impossible to rehabilitate the company, same
provisions of the Bankruptcy & Payment Suspension Law are practically maintained.
             Case 22-10630-JTD      Doc 45-2      Filed 08/26/22    Page 62 of 66



Like the conciliation, bankruptcy aims to preserve the value of the company to distribute it,
according to their respective rights, between the tradesman and the different types of
creditors.



Receiver takes possession of the company with the mandate to alienate it in a way that
obtains the maximum possible value. Depending on the case, this can be achieved through
an administrative, operational or financial reorientation of the company, selling the entire
company or some of its parts to another tradesman that can materialize more value, or
dissolving it and selling the separate goods to the highest bidder. When the business or any
of its parts is viable as a going concern, receiver must make the necessary arrangements to
sell it as such, since this will allow the maximum value.



The best way to alienate the assets varies greatly from one company to another. In some
cases, for example, the appropriate means will be a public sale in the locality of the
tradesman, with a minimum of formalities. In other cases it may be appropriate to make an
international bid, postpone the alienation of the company while its restructuring is complete,
transfer the assets to a new company and sell the shares or negotiate a private sale with the
only possible buyer.



Therefore, on the one hand in accordance with the objective of achieving the maximum
value by alienation of the estate, it is convenient to give opportunity to the entire company,
any part of it or any set of assets of it, to be alienated by the mechanism that best suits the
particular circumstances of the company, and the best commercial practices in the relevant
markets.



On the other hand, based on the intention that the entire bankruptcy proceedings be
transparent and reliable, it is recognized that the alienation of the estate may be vulnerable
to abuses and irregular practices, so it is necessary to establish the necessary incentives and
controls in the Law to ensure that no one takes undue advantage of the proceedings,
encouraging the constructive participation and mutual vigilance of all parties concerned.



The solution adopted by the Commission consists of allowing receiver to propose to the
judge any alienation mechanism consistent with its mandate to achieve the maximum value,
explaining and justifying its proposal, which is made known to the tradesman and its
creditors. If, after a reasonable period of time, tradesman or a significant proportion of
creditors does not disagree with the proposal, the judge authorizes receiver to proceed in
accordance with it. If the proposal is objected, alienation of the set of assets in question is
carried out through a mechanism of public auction, carefully regulated in the own Law.
          Case 22-10630-JTD         Doc 45-2      Filed 08/26/22     Page 63 of 66



In this way, receiver is allowed the opportunity to convince the interested parties to proceed
in accordance with an ad hoc alienation mechanism. If any cause of mistrust persists, a pre-
established system is used that ensures transparency and minimizes the possibility of
suspicions and challenges.



Keeping effectiveness of the guarantees and respect for the rights of the secured creditor, a
mechanism is proposed to prevent the premature separation of indispensable assets that are
the subject of a guarantee, in cases where their alienation is convenient for the estate.



For determination of distributions, the Bill maintains, basically, the degrees and priorities
established in the current law, making only the minimum changes necessary to adapt them
to the new provisions.



The criminal regime of bankruptcy is not very effective and sanctions provided for cases of
negligent or fraudulent bankruptcy are rarely applied; without counting the cases of
bankrupts that escape the action of justice through the escape. This is due in large part to
the fact that courts have considered it necessary to initiate the criminal proceedings, which
has exhausted the means of challenge against the bankruptcy declaratory. However, the
bankruptcy judge eliminates the need for classification.



The principle that the creditor has a pledge right on the debtor's estate, according to which
the debtor responds to fulfillment of its obligations with all its assets, it justifies criminal
punishment for the tradesman debtor who, intentionally is placed in a situation of
generalized non-compliance of its obligations.



It is impossible to enumerate exhaustively the multiple and diverse conducts by means of
which the tradesman debtor can achieve its purpose of deceiving its creditors.



The Bill seeks to encompass all of them, and not to leave any of them unpunished, by means
of a type that refers, generically, to any fraudulent conduct that causes or aggravates the
situation of generalized non-compliance with liquid and enforceable obligations. In such
definition are included all concealments, simulations, forgery and deceits that the tradesman
debtor can make.



The Bill instructs judge so that, when individualizing the penalty, between the minimum of
one year of imprisonment and the maximum of five years, it take into account the amount of
the damage inferred to creditors and the number of these.
          Case 22-10630-JTD          Doc 45-2     Filed 08/26/22     Page 64 of 66



The Bill is concerned, first of all, to motivate debtor to comply with its obligations. For such
reason, it proposes that the crimes in a situation of bankruptcy be pursued by the creditor's
complaint, in order to open the door to forgiveness of the offended party.



No criminal liability, of course, for tradesman who suffers misfortunes that, without
intervention of its will, reduce its capital to the point of having to default on its payments.
This hypothesis constitutes what the current Bankruptcy & Payment Suspension Law calls
unforeseen bankruptcy. The Bill considers useless to engage in behaviors that do not
constitute a crime.



The Bill makes the insolvency proceedings and the criminal proceedings independent, up to a
certain point. The first is intended to maximize the value of the bankrupt's assets and
achieve the payment of creditors. The second seeks to sanction the delinquent behavior of
debtor. Interest of justice demands both proceedings to move forward without hindering
between them. Therefore, the institution of the bankruptcy rating disappears, that only
served as a protection shield for criminals.



The Bill proposes that crimes in a situation of bankruptcy, committed by debtor, may be
prosecuted without waiting for conclusion of the insolvency proceedings and, without
prejudice to its continuation, that the judge decisions granting insolvency proceedings are
not linked to the criminal jurisdiction and that the qualification of the insolvency proceedings
will not be necessary to pursue such crimes.



When proceeding with the bankruptcy proceedings and the criminal proceedings in an
independent manner, any of them may end before the other. We should not fear the
contradiction of judgments, because there will not be. There cannot be any, because, as we
said, the bankruptcy judge seeks only the total or partial fulfillment of obligations. It is the
only one competent to resolve on damage repair. While the criminal judge is responsible for
deciding whether or not a crime has been committed and, if applicable, punish it.



There is, however, a relationship between both proceedings. A proper behavior of the
tradesman declared by final judgment in bankruptcy is criminalized. This personal
characteristic is one of the elements of the type, then the criminal proceedings in this case,
may only be initiated when the insolvency judge has declared the tradesman insolvent, and
this declaration has the character of a procedural requirement.



The tradesman against whom a bankruptcy proceeding is filed is sanctioned in two
hypotheses: when it has kept its accounting in a way that does not allow knowing its true
financial situation or such has been altered, falsified or destroyed, or when required by the
          Case 22-10630-JTD         Doc 45-2      Filed 08/26/22     Page 65 of 66



bankruptcy proceedings judge, it does not make its accounting, within the term for such
reason considered, available to the person that the judge designates.



During the last two decades, the national economy has been characterized by its growing
insertion in international trade and capital flows. Mexican companies have significantly
increased their participation in foreign trade, they have benefited from sources of financing
provided by their access to international capital markets, and an increasing number of them
venture to expand their operations to other latitudes. It also happens with foreign
companies that have seen in our country a favorable climate to expand their commercial and
investment opportunities. It should not be surprising that in this context of globalization, the
economic and financial difficulties that a negotiation might face have an impact not only on
those who share its geographical location but also on those located in other parts of the
world.



By virtue of the foregoing, the differences in the insolvency proceedings of the nations
greatly affect the companies that have assets and liabilities in several countries. From a
practical perspective, this diversity leads to greater uncertainty both for the entrepreneur in
crisis and for its creditors and therefore acts in detriment of an effective application of the
bankruptcy law, especially in nations like ours where it is increasingly common that
operations of companies transcend national borders.



In response to these trends, the international community developed within the Commission
for Legislation on International Trade of the United Nations a Model Law that seeks to give
congruence to bankruptcy proceedings between countries. This Law was negotiated between
more than 40 countries with the most varied legal systems. One of the most important
features of the Model Law is that it aims to promote effective and limited cooperation
between the bankruptcy proceedings of nations. By means of regulations comparable to all
legal systems and, therefore, make it easily adaptable to the legal framework of each nation.
Specifically, it facilitates cooperation between legal procedures carried out in a nation and
those that occur outside it. In this way, the country that adopts the Model Law, in addition to
recognizing the importance of its cross-border transactions, facilitates the recognition of
foreign proceedings and the cooperation and coordination between the courts and the
organs of bankruptcy in different countries.



Based on the above considerations, the drafting Commission acknowledged the need to
continue advancing in modernization of legal systems that regulate the commercial and
financial activity of our country, incorporating a chapter on international cooperation of
proceedings into the Bankruptcy Bill, for which the necessary adjustments to the Model Law
of the Commission for Legislation on International Trade of the United Nations were made.
With this, Mexico will be at the forefront of the efforts of the international community to
modernize its legal framework in the field of bankruptcy in response to the globalization
          Case 22-10630-JTD        Doc 45-2     Filed 08/26/22     Page 66 of 66



challenges. We cannot conclude the submission of this Bill without insisting on the urgency
of a new legislation in the subject matter, since the social reality has exceeded the existing
normativity. When an law constitutes an obstacle for the solution of the problems presented
by the socioeconomic reality that it is intended to regulate, reality is imposed and seeks
solutions even outside the law with serious detriment of the legal context; provisions that
are inconvenient to the solution of problems are exploited and manipulated in many cases
with a predominance of the particular interest over the collective, and the rules that impede
solutions are ignored and disregarded.
